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                      Exhibit 1
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                 Performance Standards Section
      Office of Audits
       ProfessionalStandards
      Professional   Standardsand
                               andAccountability
                                   AccountabilityBureau
                                                  BureauAdministration




 Stops, Searches & Arrest
 Audit – June 2022
 (FOB and ISB) PUBLIC VERSION
 Report# SSA062022

 Submitted by PSAB: 8/19/2022
 Response from FOB/ISB: 8/29/2022
 Report: 9/9/2022
 Revised: 11/2/2022
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 Executive Summary
The Audit and Review Unit of the Professional Standards and Accountability Bureau conducted an
audit of Stops, Searches and Arrests (SSA) related to incidents which occurred between March and
May 2022. In addition to the SSA audit, three (3) sub-audits, Consent to Search, Strip/Cavity and
Probation and Parole, are conducted as part of the overall SSA audit. These sub-audits
encompassed incidents which occurred between January and May of 2022. The audit is designed
to measure compliance to NOPD policies and the Consent Decree, thereby ensuring that all stops,
searches, and arrests are conducted and executed consistent with those policies and constitutional
law. The audit also ensures all incidents are documented appropriately, that the documentation
is complete and accurate, and that stops, searches, and arrests are carried out with fairness and
respect. This audit spans the period during which the NOPD Field Operations Bureau (FOB) SSA
Corrective Action Plan (CAP) was being executed, following its implementation as an outcome of
the May 2021 SSA audit results.

Stops, Searches, and Arrests – Audit

   o    SSA Incidents - Scorecard has an overall score of 90%. It shows continuous improvement
        over previous audit score of 87%. Most of the categories on this scorecard pertain to the
        officer documenting his/her action with the public. FICs and EPRs should be complete,
        accurate and timely. The deficiencies with regard to FIC submittals and approvals within
        policy timeframes, are currently being addressed in the CAP as well as during roll-call
        training as needed. Specific training with In-service Training classes or Daily Training
        Bulletins (DTBs) are also being utilized to reinforce close and effective supervision. Video
        to report consistency is being addressed in the same manner.

   o SSA Procedural Justice - Scorecard has an overall score of 98%. It shows continuous
     improvement over previous audit score of 94%. The contributing deficit on this scorecard
     is the same as last audit: the “Officer Introduced Themselves” category with a 93%
     compliance rate. However, this category shows considerable improvement as well from
     the previous score of 72%. When reasonably possible, officers should identify themselves
     as soon as practical on a stop. This improvement is indicative of concerted efforts by FOB
     to ensure officers identify themselves in an expeditious manner.

   o Stops Subjects - Scorecard has an overall score of 97%, which shows continuous
     improvement over the previous score of 93%. The previous notable deficiency related to
     handcuffing subjects has achieved compliance. The “Reason for handcuffs documented in
     the report” had scored 86% previously and scored 97% in this audit. This can be attributed
     to the fact that the Department has continued to educate officers, using DTBs, in-service
     training, as well as utilizing the FOB CAP (corrective action plan) developed after the
     preceding audit.

   o Searches Subjects - Scorecard has an overall score of 93%, which shows continuous
     improvement over the previous score of 79%. While the score for “Officers adequately
                                                                                                       2
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        documenting a legal basis to search” was 90%, it represents a considerable improvement
        from the previous score of 83%. This can be attributed to the fact that the Department has
        continued to educate officers, using DTBs, in-service training, as well as utilizing the FOB
        CAP developed after the preceding audit.

   o Arrests Subjects - scorecard has an overall score of 96% which is still compliant. The
     previous audit score of 99% did not include the new question regarding “Miranda Given, if
     required”. This metric scored 87% in this initial review, which lowered the overall score of
     the audit area.



Stops, Searches, and Arrests – Probation & Parole Sub-audit

   o    SSA – Probation & Parole - Scorecard has an overall score of 96%. It shows continuous
        improvement over previous audit score of 93%. The primary deficiencies with regard to FIC
        submittals (87%) and approvals (78%) within policy timeframes, Report/Video consistency
        (86%), and BWC completeness (88%) are currently being addressed in the CAP as part of
        the overall FOB inspection process, as well as during roll-call training as needed. Specific
        training with In-service Training classes or Daily Training Bulletins (DTBs) are also being
        utilized to reinforce close and effective supervision. Video to report consistency is being
        addressed in the same manner.


Stops, Searches and Arrests – Consent to Search Sub-audit

   o    SSA - Consent to Search –Scorecard has an overall score of 88%, which shows nearly flat
        over the previous score of 87%. The primary deficiencies with regard to FIC submittals
        (86%) and approvals (75%) within policy timeframes, Report/Video consistency (50%), RS
        to Stop & RS to Stop in Report (75% each), Valid Search & Valid Search in Report (56% each),
        Miranda Given (50%), and BWC completeness (88%) are currently being addressed in the
        CAP as part of the overall FOB inspection process, as well as during roll-call training as
        needed. Specific training with In-service Training classes or Daily Training Bulletins (DTBs)
        are also being utilized to reinforce close and effective supervision. Video to report
        consistency is being addressed in the same manner. Overall scores impacted by policy
        issues with Public Safety Rides. Five of the 8 incidents audited were for courtesy rides, and
        2 were Crisis Interventions, and 1 Incident to Arrest.

   o    Consent to Search – Subject scorecard has an overall score of 20%. Overall scores impacted
        by policy issues with Public Safety Rides. Five of the 8 incidents audited were for courtesy
        rides, and 2 were Crisis Interventions, and 1 Incident to Arrest. These deficiencies have been
        addressed with the publication of the new Public Safety Ride (PSR) Policy 10. 1.. The new
        policy regarding Public Safety Rides went into effect after the audit sample was selected.
        There was inconsistent direction and lack of policy which impacted how safety rides were
        to be handled. The expectation is that the new policy will provide clear and consistent

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        guidelines going forward.

   o    Specific cognizance training being addressed with General Order 1157 regarding PSRs.

Stops, Searches and Arrests – Strip & Cavity

   o SSA – Strip & Cavity –Scorecard has an overall score of 90%, which shows slight
     improvement over the previous score of 87%. The deficiencies with regard to the incident
     and subject deficiencies are currently being addressed in the FOB CAP as well as during roll-
     call training as needed. Specific training with In-service Training classes or Daily Training
     Bulletins (DTBs) are also being utilized to reinforce close and effective supervision.

   o Strip & Cavity Search – Subject scorecard has an overall score of 94% compared to the
     previous score of 100%. The one deficiency related to supervisor approval prior to
     conducting strip search (67%). The district explained that there were exigent circumstances
     for doing the search as suspect had gun slip down his waist and officers felt it unsafe to
     wait. Auditors disagreed with the reasoning after viewing video and this incident was
     flagged. The audit found no specific issues with the strip searches as the officers followed
     policy and guidelines while conducting such searches.




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  Introduction
The Audit and Review Unit of the Professional Standards and Accountability Bureau conducted an
audit of Stops, Searches and Arrests (SSA) related to incidents which occurred between March and
May 2022. In addition, three (3) sub-audits, Consent to Search, Strip/Cavity and Probation and
Parole, are conducted as part of the overall SSA audit and encompasses incidents which occurred
between January and May of 2022. This audit is designed to ensure that all stops, searches, and
arrests are conducted and executed consistent with NOPD policy and constitutional law, are
documented appropriately, that the documentation is complete and accurate, and that stops,
searches, and arrests are carried out with fairness and respect. This audit spans the period during
which the NOPD Field Operations Bureau (FOB) corrective action plan was implemented following
the May 2021 SSA audit.

Purpose
The Stops, Searches, and Arrests audits are completed to ensure stops, searches, and arrests are
constitutional and are within policy. Stops, Searches, and Arrests are regulated by, but not limited
to, the following Chapters: 1.2.4 – Search and Seizure; 1.2.4.1 – Stops/Terry Stops; 1.2.4.2 – Search
Warrant Content, Forms and Reviews; 1.3.1.1 – Handcuffing and Restraint Devices; 1.9 – Arrests;
35.1.7 Non-Disciplinary Responses to Minor Violations; 41.3.10 Body Worn Camera; 41.12– Field
Interview Cards; 41.13 Bias-Free Policing; 52.1.1 – Misconduct Intake and Complaint Investigation.

Objectives
This audit is designed to ensure that all Stops, Searches, and Arrests are consistent with NOPD policy
and constitutional law. Also, to ensure all are documented appropriately, the documentation is
complete and accurate, and that stops, searches, and arrests are carried out with fairness and
respect. This audit procedure entails the review of stops, searches, and arrests. Consent searches,
strip and cavity searches, search warrants, and performance evaluations are covered in separate
audits.

Background
This comprehensive Stops, Searches and Arrest Procedural Justice (SSAPJ) Audit utilizing the
standard protocol has now been further enhanced to ensure all relevant issues regarding the last
audit have been addressed. Originally, Stops, Searches and Arrests were each audited
independently. In December of 2019, Stop, Search and Arrest audits were redesigned and
consolidated into one audit. Then, following the 2021 audit, further enhancements were made
relative to the corrective actions implemented, as well as additional audit questions being added.
This resulting audit was more detailed, and a deeper diving review of the most fundamental actions
taken by officers.

Methodology
Auditors qualitatively assessed each incident using the SSA forms listed below to ensure each stop,
search, and arrest is compliant with legal requirements and NOPD policy. Auditors analyzed reports,
field interview cards, body-worn cameras and or in-car cameras to ensure officers had a valid legal
                                                                                                         6
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basis to conduct a stop, search, or arrest, that officers documented such basis, and that
documentation was complete and accurate.

The following SSA forms document the audit criteria:
1.              SSA Subject Audit Form
2.              SSA Incident Audit Form
3.              Consent to Search Form
4.              Strip/Cavity Search Form

Each stop (CAD or FIC), search (FIC), or arrest (FIC or EPR) incident the sample required one SSA
Incident form and one SSA subject form for each person suspected of a crime during the incident.
For the purposes of this audit, every person an officer identified who was not a victim or witness is
a subject and requires an SSA subject form. For example, consider an incident involving an officer
stopping a vehicle because he/she believed the driver matched a description of a wanted person.
He/she identified the driver and the front passenger in the vehicle and none of the rear passengers.
For this incident, an SSA subject form was required for the driver (suspected of being wanted) and
for the front passenger (identified by the officer). Although the officer was required to document
approximate demographics for the rear passengers in a FIC, SSA subject forms were not needed for
them.

Each Consent to Search (FIC or EPR) incident in the sample required one SSA Incident form, one SSA
subject form for each person suspected of a crime during the incident, and one Consent to Search
form. For the purposes of this sub-audit, the process is the same as the SSA process. This sample is
reported separately from the SSA sample.

Each Strip/Cavity Search (FIC or EPR) Incident in the sample required one SSA Incident form, one
SSA subject form for each person suspected of a crime during the incident, and one Strip/Cavity
Search form. For the purposes of this sub-audit, the process is the same as the SSA process. This
sample is reported separately from the SSA sample.

Each Probation and Parole (FIC or EPR) Incident in the sample required one SSA Incident form and
one SSA subject form for each person suspected of a crime during the incident. For the purposes of
this sub-audit, the process is the same as the SSA process. This sample is reported separately from
the SSA sample.

All documents and related incidents that are in the sample and were not audited because there is
no stop, search or arrest were to be deselected. All deselections were recorded in the Deselection
Log.

Auditors searched for and reviewed all documentation related to the incident sampled. This
involved:
    1. Reading the documents sampled to determine which officers were on scene and when.
    2. Searching Evidence.com by officer and time and by using multi-camera option to find related
       videos that were labelled differently.
                                                                                                        7
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   3. Reviewing the prior and proceeding CAD activity for the officers on scene.
   4. Searching for FICs and EPRs using subject names and the date of the incident as documented
      on video or in reports.
   5. Searching for FICs and EPRs using officer information and the date of the incident as
      documented on video or in reports.
   6. Reviewing the related item numbers as documented in FICs and EPRs.

If video is available for the incident, auditors watched all interactions between officers and non-
members. Auditors skipped through sections of video that did not involve interactions between
officers and non-members. Auditors watched videos recorded by other officers on scene to observe
all interactions. Auditors also watched the beginning and end of each officer’s BWC video to
determine whether the officer activated and deactivated their BWC as required by policy.

Auditors read the guidance in the audit forms on a regular basis. Changes to audit forms were clearly
communicated to auditors by the audit supervisor. Auditors re-read policies when guidance in audit
forms recommended, they do so or when the policy requirements were not clear enough to the
auditor to allow them to confidently score an audit criterion.

When audit results required comments, auditors thoroughly explained the evidence that they
observed that led to their Response of the result for the audit criteria in question. For example, if
an auditor scored “Videos and Reports as Significantly Consistent” with a “No” indicating non-
compliance, they explained how the video shows something that is not consistent with the report.
Such a comment read like the following: “The FIC documents a pat down, however the BWC shows
a search incident to arrest.”

Drawing on their knowledge of NOPD policies, auditors noted any policy violations they observe
that are not specifically addressed in the SSA audit tools in the “Notify PSS” section of the form.




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 Initiating and Conducting the SSA Audit
The final SSA sample size for this audit was determined to be 97 incidents due to stratification
and rounding.

      1. The universe of Stops, Searches, and Arrests are exported into an excel spreadsheet.
         Stops, searches and arrests are sorted based on the date the digital document is
         created. Incidents are assigned a random number using Excel’s random number
         function (RAND).

      2. Documents are sampled starting from the smallest random number assigned and
         continuing from smallest to largest until the required sample size is reached.

      3. Sample sizes are representative of the Department, not each district/division, when
         reporting publicly. For reference, during March-May 2022, NOPD’s Stops, Searches, and
         Arrests universe amounted to 37,000+ incidents. Per the sample size calculator given
         to NOPD by the Los Angeles Police Department Auditing Unit, a sample size of about 97
         incidents is representative of a population of 37,048 when doing a one- tailed test, with
         a 95% degree of confidence, and a 4% error rate.

      4. When reporting publicly, audit results are stratified by division/district; the number of
         audit results per division/district are proportionate to the actual activity by the
         division/district. The results include at least one incident from each division/district
         with activity during the reporting time period to ensure all districts/divisions with
         activity are included in public reports.

      5. Randomly sampled documents (CAD, FIC, or EPR) that do not document a stop, search,
         or arrest by NOPD will be deselected. For the purposes of this audit, anyone who is
         identified by an officer and who is not a witness or victim, is considered stopped. If the
         document is part of the arrest universe and an auditor determines the related incident
         does not include an arrest by NOPD, but does include a stop or search by NOPD, the
         document and related incident will be audited focusing on the stop and search. When
         a document is deselected, the auditor will continue to the document with the next
         lowest random number.




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 Initiating and Conducting the Sub-audit (Consent to Search)
The final Consent to Search SSA sample size for this sub-audit was determined to be 8 incidents
in which either a consent to search was either flagged on an FIC/EPR or determined to have been
conducted during the audit period of March 16 to May 31, 2022. Note that the previous months
of 2022 were audited separately as a check. This sub-audit follows the SSA guidelines for auditing.

      1. The universe of Consent to Search is exported into an excel spreadsheet. No
         Randomization takes place.

      2. The incidents are then reviewed prior to auditing to determine if consent to search is
         indicated on the reports. Any incidents where the word “consent” is used in the
         narrative are verified for the purpose of removing those incidents where consent is
         mentioned in other contexts outside of the consent to search meaning.

      3. Final sample sizes were the totality of all incidents which indicated a legal basis of
         “consent to search” or the narrative described a consent to search action or was
         otherwise noted.

      4. When reporting publicly, audit results are not stratified by any division/district; The
         results include all incidents from with consent to search activity during the reporting
         time period to ensure all activity are included in public reports.

      5. Sampled documents (CAD, FIC, or EPR) that do not document a “consent to search” by
         NOPD will be deselected. When a document is deselected, there is no replacement as
         the list is all inclusive.




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 Initiating and Conducting the Sub-audit (Strip & Cavity Search)

The final Strip/Cavity SSA sample size for this sub-audit was determined to be 3 incidents in which
either a strip or cavity search was determined to have been conducted during the audit period of
January to May 2022. This sub-audit follows the SSA guidelines for auditing.

      1. The universe of Strip and Cavity are exported into an excel spreadsheet. No
         Randomization takes place.

      2. The incidents are then reviewed prior to auditing to determine if Strip or Cavity is
         indicated on the reports. Any incidents where the words “Strip” or “Cavity” used in the
         narrative are verified for the purpose of removing those incidents where “Strip” or
         “Cavity” is mentioned in other contexts outside of their meaning.

      3. Final sample sizes were the totality of all incidents which indicated a “Strip” or “Cavity”
         search” or the narrative described a such action or is otherwise noted.

      4. When reporting publicly, audit results are not stratified by any division/district; The
         results include all incidents with consent to search activity during the reporting time
         period to ensure all activity is included in public reports.

      5. Sampled documents (CAD, FIC, or EPR) that do not document a “strip” or “cavity”
         search by NOPD will be deselected. When a document is deselected, there is no
         replacement as the list is all inclusive.




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 Initiating and Conducting the Sub-audit (Probation & Parole)
The final Probation and Parole SSA sample size for this sub-audit was determined to be 42
incidents in which an individual was determined to have been on probation and/or parole when
a stop and search was conducted during the audit period of January to May 2022. This sub-audit
follows the SSA guidelines for auditing.

      1. The universe of Probation & Parole data is exported into an excel spreadsheet. The list
         is derived by cross-referencing the document from the office of the probation & parole
         with the NOPD data. No Randomization took place.

      2. The incidents are then reviewed prior to auditing to determine if individuals listed in
         NOPD data are still actively on probation or parole. This is determined by a review from
         the probation and parole office, and then indicated on the reports. Any incidents where
         it is confirmed a person is still actively on P&P, those incidents are included in the
         sample.

      3. Final sample sizes are the totality of all incidents which indicate a person was actively
         on P&P or otherwise noted.

      4. When reporting publicly, audit results are not stratified by any division/district; The
         results include all incidents where persons are P&P, during the reporting time period
         to ensure all activity is included in public reports.

      5. Sampled documents that do not document a stop of a person on probation & parole by
         NOPD will be deselected. When a document is deselected, there is no replacement as
         the list is all inclusive.




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         Reviews - Scorecards
                                                         SSA Audit Summary Table

Audit    CD              Form       Field Name       Field Text          Number       Number     Compliance   Compliance   Number   Total
Form #   ¶/Chapter                                                       Compliant    Required   Rate         Threshold    NA       Reviewed
                                                                                                              Met
                                                                                                              (>=95%)
1        CD 124          Incident   Known to be      If you suspect      Offline
                                    Materially       an officer relied   Process
                                    False            on information      through
                                                     he or she knew      Direct
                                                     to be materially    Supervisor
                                                     false or            and PSS
                                                     incorrect to        Notify
                                                     make a stop or
                                                     detention,
                                                     contact your
                                                     supervisor.
2        CD 126, 149,    Incident   FIC Exists If    If required,        69           72         96%          TRUE         25       97
         150                        Required         does an FIC
                                                     exist for this
                                                     stop?
3        CD 150          Incident   FIC Submitted    Did the officer     59           64         92%          FALSE        33       97
                                    By ETOD          submit the FIC
                                                     to his/her
                                                     supervisor by
                                                     the end of the
                                                     shift?
4        CD 150          Incident   FIC Approved     Did the             54           69         78%          FALSE        28       97
                                    in 72Hrs         supervisor
                                                     approved the
                                                     FIC within 72
                                                     hours?
5        CD 123, 136,    Incident   No Boilerplate   In the reports,     95           96         99%          TRUE         1        97
         145,                                        did the
                                                     officer(s) use
                                                     specific
                                                     descriptive
                                                     language when
                                                     articulating
                                                     reasonable
                                                     suspicion
                                                     and/or
                                                     probable cause
                                                     for any stop,
                                                     detention,
                                                     search, or
                                                     arrest?
6        CD 123          Incident   Videos and       Are the video(s)    79           95         83%          FALSE        2        97
                                    Reports Are      and reports
                                    Consistent       significantly
                                                     consistent?
7        Ch 1.9 p27-29   Incident   Arrest in        If yes [video or    7            7          100%         TRUE         90       97
                                    Residence        reports show
                                    Circumstances    the officer
                                                     entered a
                                                     residence to
                                                     make the
                                                     arrest], which
                                                     of the following
                                                     apply?
                                                     Options:

                                                                                                                                           13
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                                                   (Consent,
                                                   Exigent
                                                   Circumstances,
                                                   Warrant, None
                                                   of the above
                                                   (Not
                                                   Compliant))
8C        CD 133, 143    Incident   Video Shows    If the supervisor   23   23   100%   TRUE   74   97
(8A,8B)                             Supervisor     is required to
                                    Made Scene     make scene,
                                                   does video
                                                   show the
                                                   supervisor
                                                   made the
                                                   scene?
9         CD 80,         Incident   Use of Force   Did any officer     5    95                 2    97
          Ch 1,3                    Observed       use reportable
                                                   force during
                                                   this officer-
                                                   civilian
                                                   interaction?
                                                   (Informational
                                                   Only)
10,       CD 80,         Incident   Use of Force   If Force            5    5    100%   TRUE   92   97
11        Ch 1,3                    Reported       Observed, Is
                                                   there a
                                                   corresponding
                                                   Blue Team
                                                   Report? (No
                                                   could indicate it
                                                   is unreported)
                                                   11. Provide
                                                   Video
                                                   Documentation.
12        CD 132, 133,   Incident   Strip Cavity   Does the            0    97                 0    97
          134                       Search         incident involve
                                    Occurred       a strip or cavity
                                                   search?
                                                   (Informational
                                                   Only)
13        CD 132, 133,   Incident   Strip Cavity   If Strip/Cavity     0    0    NA     TRUE   97   97
          134                       Search         search is
                                    Documented     observed(yes),
                                                   is the strip or
                                                   cavity search
                                                   documented in
                                                   the FIC or EPR?
14        CD 131, 149    Incident   Consent to     Does the            0    97                 0    97
                                    Search         incident involve
                                    Occurred       a consent to
                                                   search?
                                                   (Informational
                                                   Only)
15        CD 131, 149    Incident   Consent to     If yes, is the      0    0    NA     TRUE   97   97
                                    Search         consent to
                                    Documented     search
                                                   documented in
                                                   the FIC or EPR?
16        CD 150         Incident   Evidence       If evidence was     20   20   100%   TRUE   77   97
                                    Documented     seized, is there
                                                   a CE+P receipt?
17        CD 150         Incident   Evidence       If evidence was     20   20   100%   TRUE   77   97
                                    Submitted      seized, was it
                                    Immediately    submitted to
                                                   CE+P before
                                                   next Code1 call
                                                   or ETOD,
                                                                                                         14
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                                                whichever is
                                                first?

18   CD 123, 149,    Incident   Evidence        If evidence was     20   20   100%   TRUE   77   97
     150                        Description     seized, and
                                Matches Video   there is a CE+P
                                                receipt, does
                                                the description
                                                on the receipt
                                                match the
                                                evidence as
                                                seen on video?
19   CD 144, 146,    Incident   Non-            Did you find any    30   97                 0    97
     151; Ch 1.9                Compliance      non-compliance
     P16-17; Ch                 Should Have     related to this
     41.12 P16-17;              Been            incident?
     Ch 35.1.7 P9;              Addressed by    (Informational
     Ch 11.0.1                  Supervisor      Only)
     P16C


20   CD 144, 146,    Incident   Missing         Is there non-       8    30                 67   97
     151; Ch 1.9                Documentation   compliance
     P16-17; Ch                                 because there is
     41.12 P16-17;                              missing
     Ch 35.1.7 P9;                              documentation
     Ch 11.0.1                                  (FIC, EPR, etc.)?
     P16C                                       (Informational
                                                Only)

21   CD 144, 146,    Incident   Non-            Is the non-         19   30                 67   97
     151; Ch 1.9                compliance      compliance
     P16-17; Ch                 Evident in      evident in the
     41.12 P16-17;              Approved        report(s)
     Ch 35.1.7 P9;              Reports         (FICs/EPRs) and
     Ch 11.0.1                                  the report(s)
     P16C                                       are approved?
                                                If a supervisor
                                                needed to
                                                watch video to
                                                know about the
                                                non-
                                                compliance,
                                                choose "No."
                                                (Informational
                                                Only)
22   CD 144, 146,    Incident   Supervisor On   Did a supervisor    1    30                 67   97
     151; Ch 1.9                Scene During    make the scene
     P16-17; Ch                 Non-            and did the
     41.12 P16-17;              Compliance      non-compliance
     Ch 35.1.7 P9;                              occur while the
     Ch 11.0.1                                  supervisor was
     P16C                                       on scene?
                                                (Informational
                                                Only)
23   CD 144, 146,    Incident   Supervisor      Was a               3    31                 66   97
     151; Ch 1.9                Required to     supervisor
     P16-17; Ch                 Watch Video     required to
     41.12 P16-17;                              watch the
     Ch 35.1.7 P9;                              video?
     Ch 11.0.1                                  Supervisors are
     P16C                                       required to
                                                watch videos if
                                                one or more of
                                                the following
                                                occurred: a use

                                                                                                      15
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                                                of force,
                                                someone was
                                                injured, a
                                                complaint was
                                                made or an
                                                officer told a
                                                supervisor that
                                                he/she thinks a
                                                complaint may
                                                be made, a
                                                vehicle pursuit,
                                                or an officer
                                                terminated
                                                his/her video
                                                early to protect
                                                the privacy of
                                                an individual.
                                                (Informational
                                                Only)
24   CD 144, 146,    Incident   Supervisor      Did the             8    31                  66   97
     151; Ch 1.9                Reviewed        supervisor
     P16-17; Ch                 Video           watch the
     41.12 P16-17;                              video? Review
     Ch 35.1.7 P9;                              the audit trail
     Ch 11.0.1                                  for the videos in
     P16C                                       Evidence.com


25   CD 144, 146,    Incident   Supervisor      Did a supervisor    22   30                  67   97
     151; Ch 1.9                Aware or        know or should
     P16-17; Ch                 Should Have     have known
     41.12 P16-17;              Been Aware of   about the non-
     Ch 35.1.7 P9;              Non-            compliance?
     Ch 11.0.1                  compliance      Choose "Yes" if
     P16C                                       any of the
                                                previous 5
                                                questions are
                                                "Yes."
27   CD 181          Incident   Reasonably      Does video          92   96   96%    TRUE    1    97
                                Courteous       show the officer
                                                was reasonably
                                                professional
                                                and courteous
                                                when
                                                interacting with
                                                the subject or
                                                other civilians
                                                during the
                                                stop?
28   CD 181          Incident   Identified      If reasonably       89   96   93%    FALSE   1    97
                                                possible, does
                                                video show the
                                                officer verbally
                                                identify
                                                him/herself as a
                                                soon a
                                                practical?
29   CD 181          Incident   Explained       If reasonably       96   96   100%   TRUE    1    97
                                                possible, does
                                                video show the
                                                officer explain
                                                the reason for
                                                the
                                                stop/interaction
                                                as soon as
                                                practical?

                                                                                                       16
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30      Ch 41.13 P9E   Incident   Subject Could    Does video          96    96    100%   TRUE    1    97
                                  Explain          show the officer
                                                   allowed the
                                                   subject an
                                                   opportunity to
                                                   explain his/her
                                                   situation, ask
                                                   questions, or
                                                   voice concerns?
31      Ch 41.13 P9E   Incident   Responded to     If the subject      79    79    100%   TRUE    18   97
                                  Subjects Qs      was allowed to
                                                   ask questions,
                                                   and if the
                                                   subject had
                                                   reasonable
                                                   questions or
                                                   concerns, does
                                                   video show the
                                                   officer respond
                                                   to them?
32      Ch 1.2.4.1     Incident   Conclusion       Does video          95    96    99%    TRUE    1    97
        P18                                        show the officer
                                                   communicate
                                                   the result of the
                                                   stop/interaction
                                                   to the subject
                                                   (arrest, ticket,
                                                   etc.)?
33      139, 181       Incident   Stop No Longer   Does video          96    96    100%   TRUE    1    97
                                  than Necessary   show the stop
                                                   was no longer
                                                   than necessary
                                                   to take
                                                   appropriate
                                                   action?
34A-D   N/A            Incident   Academy          Does this           5     96                   1    97
                                  Training         incident make a
                                                   good training
                                                   video
                                                   (Informational
                                                   Only)
35      N/A            Incident   EPIC             Does this           3     96                   1    97
                                                   incident involve
                                                   an EPIC
                                                   Moment; an
                                                   officer
                                                   confronting a
                                                   peer about
                                                   what they could
                                                   do better?
                                                   (Informational
                                                   Only)
36      Ch 41.3.10     Incident   Complete         Did each officer    255   288   89%    FALSE
        P11                       Video            who conducted
                                  Numerator and    a stop, search,
                                  Complete         or arrest and
                                  Video            who has been
                                  Denominator      issued a BWC
                                                   activate his/her
                                                   BWC as
                                                   required? And
                                                   did each
                                                   supervisor who
                                                   made the scene
                                                   and who has
                                                   been issued a
                                                   BWC activate
                                                                                                            17
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                                               his/her BWC as
                                               required?




1A   CD 122          Subject   RS/PC to Stop   Based on all the     115   117   98%    TRUE    0     117
                                               evidence
                                               available to
                                               you, did the
                                               officer(s) have
                                               reasonable
                                               suspicion or
                                               probable cause
                                               to stop this
                                               subject?
2A   CD 122, 123,    Subject   RS/PC to Stop   Does the report      114   117   97%    TRUE    0     117
     126, 149, 150             in Report       clearly
                                               articulate
                                               reasonable
                                               suspicion or
                                               probable cause
                                               to stop this
                                               subject?
3A   Ch. 1.3.1.1     Subject   Reason for      If the officer put   67    69    97%    TRUE    48    117
     P25                       Handcuffs       the subject in
                               Documented      handcuffs, did
                                               the officer
                                               document a
                                               reason to
                                               handcuff in the
                                               FIC?
3B   Ch. 1.3.1.1     Subject   Discretionary   If this subject      15    15    100%   TRUE    102   117
                               Handcuffs       was
                               Within Policy   handcuffed,
                                               does the
                                               evidence
                                               available to you
                                               show the
                                               handcuffing
                                               was within
                                               policy?
3B   Ch. 1.3.1.1     Subject   Mandatory       If this subject      72    75    96%    TRUE    42    117
                               Handcuffs       was
                               Within Policy   handcuffed,
                                               does the
                                               evidence
                                               available to you
                                               show the
                                               handcuffing
                                               was within
                                               policy?
4    CD 149, 150,    Subject   Search Legal    Based on all the     93    96    97%    TRUE    93    96
     Ch. 1.2.4 P1              Numerator and   evidence
                               Search Legal    available to
                               Denominator     you, did the
                                               officer(s) have a
                                               valid legal basis
                                               to search the
                                               subject?
5    CD 123, 149     Subject   Reason to       Does the             86    96    90%    FALSE   86    96
                               Search in       "Report"
                               Report          sufficiently
                               Numerator and   document
                               Reason to       a valid legal
                               Search in       basis for every
                               Report          search of this
                                                                                                           18
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                                Denominator      subject?




6     123,            Subject   Pat Down         If a pat down       13              20                 97   117
      Ch 41.12 P12J             Justification    was correctly
                                                 indicated, did
                                                 the officer give
                                                 specific details
                                                 about the
                                                 subject of the
                                                 pat down that
                                                 would lead a
                                                 reasonable
                                                 person to
                                                 believe the
                                                 subject was
                                                 armed and
                                                 dangerous in
                                                 the justification
                                                 for pat down
                                                 text box?
                                                 Informational
                                                 Only. Included
                                                 in Search
                                                 Report Q5.
7&4   CD 130          Subject   (7) Search       (7) Was this        3               3    100%   TRUE   0    3
                                Subject on       subject on
                                Probation or     parole or
                                Parole & (4)     probation? &
                                Search Legal     (4) Based on all
                                Numerator,       the evidence
                                and Search       available to
                                Legal            you, did the
                                Denominator      officer(s) have a
                                                 valid legal basis
                                                 to search the
                                                 subject?
8     CD 144          Subject   Supervisor       Was the arrest      42              42   100%   TRUE   75   117
                                Approved Gist    gist for this
                                Prior to         subject
                                Booking          approved by a
                                                 supervisor
                                                 before the
                                                 subject was
                                                 booked by the
                                                 sheriff?
9     CD 141          Subject   Officer Had PC   Based on all the    65              65   100%   TRUE   52   117
                                to Arrest        evidence
                                                 available to
                                                 you, did the
                                                 officer have
                                                 probable cause
                                                 to arrest this
                                                 subject?
10    CD 141, 145,    Subject   PC Clearly       Did the officer     66              67   99%    TRUE   50   117
      Ch 1.9 P14,               Articulated      clearly
      Ch 82.1 P4,                                document the
      Ch 41.12 P15                               probable cause
                                                 in the report
                                                 (FIC or EPR)?
11                    Subject   Stop Result      What was result     Informational
                                                 of Stop?            Only
                                                 Multiple choice

                                                                                                                   19
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12                   Subject   Break Given     Did the officer     12    89                   28    117
                                               use their
                                               discretion to
                                               give the subject
                                               a break?
                                               (Informational
                                               Only)
15   Ch 1.9.1        Subject   Miranda Given    Did the officer    69    79    87%    FALSE   38    117
                                               give Miranda
                                               Rights, if
                                               required?
                                               Officers shall
                                               advise suspects
                                               of their
                                               Miranda Rights
                                               at the time of
                                               arrest or prior
                                               to any custodial
                                               interrogation.
                                               See Chapter:
                                               1.9.1;
                                               Note: Miranda
                                               does not apply
                                               to roadside
                                               questioning of a
                                               stopped
                                               motorist, or a
                                               person briefly
                                               detained on the
                                               street under a
                                               Terry stop.
13                   Subject   ID Checked      Did the officer     110   112   98%    TRUE    5     117
                                               run the
                                               subject's ID?
14   CD 189          Subject   LEP             Did the officer     0     0            TRUE    117   117
                                               request
                                               translation
                                               services, if
                                               needed?
20   CD 149 (h)      Subject   Required to     Did an officer      14    27                   90    117
     Ch 1.2.4.3                Exit Vehicle    require this
     P19, Ch 41.12                             subject to exit a
     P12(f)                                    vehicle?
                                               (Informational
                                               Only)
21   CD 149 (h)      Subject   Vehicle Exit    If you chose yes    13    14    93%    FALSE   103   117
     Ch 1.2.4.3                Justification   for "Required to
     P19, Ch 41.12             Documented      Exit Vehicle",
     P12(f)                                    did an officer
                                               document the
                                               justification to
                                               require this
                                               subject to exit
                                               the vehicle in
                                               the FIC?
22   CD 149 (h)      Subject   Vehicle Exit    If you chose yes    13    13    100%   TRUE    104   117
     Ch 1.2.4.3                Justification   for Vehicle Exit
     P19, Ch 41.12             Compliant       Justification
     P12(f)                                    Documented, is
                                               the justification
                                               specific to this
                                               subject, and/or
                                               was a legal
                                               vehicle search
                                               conducted
                                               requiring all
                                               occupants to
                                                                                                          20
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                                           exit the vehicle?




16   CD 189    Subject   Arrest            Was the subject     103   103   100%   TRUE   14   117
                         Immigration       arrested
                         Status            because of or in
                                           part due to the
                                           subject's
                                           immigration
                                           status?
17   CD 183    Subject   Questioned        Was the subject     116   116   100%   TRUE   1    117
                         Immigration       questioned
                         Status            about their
                                           immigration
                                           status in a
                                           manner that
                                           was not
                                           relevant to the
                                           crime in
                                           question?
18   CD 185    Subject   Officer           Did the officer     116   116   100%   TRUE   1    117
                         Comment           say something
                         LGBTQ             that is possibly
                                           offensive
                                           about/to LGBTQ
                                           individuals?
19   CD 185    Subject   Officer Address   Did the officer     116   116   100%   TRUE   1    117
                         LGBTQ             address the
                                           subject by their
                                           chosen name,
                                           title, and
                                           pronoun?




                                                                                                    21
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                                    SSA – Consent to Search Audit Summary Table
Audit   CD ¶/Chapter     Form       Field Name         Field Text          Number        Number     Compliance   Compliance   Number    Total
Form                                                                      Compliant      Required     Rate        Threshold     NA     Reviewe
  #                                                                                                                  Met                  d
                                                                                                                   (>=95%)




 1         CD 124       Incident   Known to be        If you suspect        Offline
                                    Materially      an officer relied      Process
                                      False         on information      through Direct
                                                    he or she knew        Supervisor
                                                    to be materially    and PSS Notify
                                                            false or
                                                        incorrect to
                                                     make a stop or
                                                          detention,
                                                       contact your
                                                         supervisor.
 2      CD 126, 149,    Incident    FIC Exists If        If required,         8             8         100%         TRUE         0        8
            150                      Required           does an FIC
                                                       exist for this
                                                             stop?
 3         CD 150       Incident   FIC Submitted     Did the officer          6             7          86%         FALSE        1        8
                                      By ETOD        submit the FIC
                                                          to his/her
                                                      supervisor by
                                                     the end of the
                                                             shift?
 4         CD 150       Incident   FIC Approved             Did the           6             8          75%         FALSE        0        8
                                      in 72Hrs            supervisor
                                                     review the FIC
                                                           within 72
                                                            hours?
 5      CD 123, 136,    Incident   No Boilerplate    In the reports,          8             8         100%         TRUE         0        8
            145,                                            did the
                                                       officer(s) use
                                                            specific
                                                         descriptive
                                                    language when
                                                        articulating
                                                         reasonable
                                                           suspicion
                                                            and/or
                                                    probable cause
                                                       for any stop,
                                                          detention,
                                                          search, or
                                                            arrest?
 6         CD 123       Incident    Videos and      Are the video(s)          4             8          50%         FALSE        0        8
                                    Reports Are         and reports
                                    Consistent          significantly
                                                        consistent?
 7      Ch 1.9 p27-29   Incident      Arrest in      If yes [video or         0             0          NA          TRUE         8        8
                                     Residence        reports show
                                   Circumstances          the officer
                                                          entered a
                                                       residence to
                                                           make the
                                                      arrest], which
                                                    of the following
                                                             apply?
                                                           Options:

                                                                                                                                                 22
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                                                         (Consent,
                                                           Exigent
                                                   Circumstances,
                                                   Warrant, None
                                                      of the above
                                                              (Not
                                                       Compliant))
 8C     CD 133, 143    Incident   Video Shows                If the     0   0   NA     TRUE   8   8
(8A,8                              Supervisor         supervisor is
  B)                              Made Scene           required to
                                                      make scene,
                                                        does video
                                                         show the
                                                        supervisor
                                                         made the
                                                           scene?
 9        CD 80,       Incident   Use of Force     Did any officer      0   8                 0   8
          Ch 1,3                   Observed        use reportable
                                                      force during
                                                       this officer-
                                                           civilian
                                                      interaction?
                                                   (Informational
                                                             Only)
 10,      CD 80,       Incident   Use of Force             If Force     0   0   NA     TRUE   8   8
 11       Ch 1,3                   Reported           Observed, Is
                                                           there a
                                                   corresponding
                                                        Blue Team
                                                      Report? (No
                                                  could indicate it
                                                    is unreported)
                                                       11. Provide
                                                            Video
                                                  Documentation
                                                                 .
 12     CD 132, 133,   Incident   Strip Cavity           Does the       0   8                 0   8
            134                     Search        incident involve
                                   Occurred       a strip or cavity
                                                          search?
                                                   (Informational
                                                             Only)
 13     CD 132, 133,   Incident    Strip Cavity      If Strip/Cavity    0   0   NA     TRUE   8   8
            134                      Search               search is
                                  Documented       observed (yes),
                                                     is the strip or
                                                      cavity search
                                                   documented in
                                                   the FIC or EPR?
 14     CD 131, 149    Incident    Consent to            Does the       3   8                 0   8
                                     Search       incident involve
                                    Occurred          a consent to
                                                          search?
                                                   (Informational
                                                             Only)
 15     CD 131, 149    Incident    Consent to          If yes, is the   3   3   100%   TRUE   5   8
                                     Search             consent to
                                  Documented                search
                                                   documented in
                                                   the FIC or EPR?
 16       CD 150       Incident    Evidence       If evidence was       0   0   NA     TRUE   8   8
                                  Documented       seized, is there
                                                  a CE+P receipt?
 17       CD 150       Incident     Evidence      If evidence was       0   0   NA     TRUE   8   8
                                   Submitted         seized, was it
                                  Immediately         submitted to
                                                      CE+P before
                                                                                                      23
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                                                next Code1 call
                                                    or ETOD,
                                                  whichever is
                                                      first?
18   CD 123, 149,    Incident     Evidence      If evidence was     0   0   NA   TRUE   8   8
         150                     Description       seized, and
                                  Matches       there is a CE+P
                                   Video          receipt, does
                                                the description
                                                 on the receipt
                                                    match the
                                                   evidence as
                                                seen on video?
19   CD 144, 146,    Incident      Non-            Did you find     5   8               0   8
      151; Ch 1.9                Compliance         any non-
      P16-17; Ch                Should Have        compliance
     41.12 P16-17;                 Been          related to this
     Ch 35.1.7 P9;              Addressed by        incident?
       Ch 11.0.1                 Supervisor      (Informational
         P16C                                         Only)


20   CD 144, 146,    Incident      Missing        Is there non-     3   5               3   8
      151; Ch 1.9               Documentatio       compliance
      P16-17; Ch                      n          because there
     41.12 P16-17;                                  is missing
     Ch 35.1.7 P9;                              documentation
       Ch 11.0.1                                (FIC, EPR, etc.)?
         P16C                                    (Informational
                                                       Only)

21   CD 144, 146,    Incident       Non-            Is the non-     5   5               3   8
      151; Ch 1.9                compliance        compliance
      P16-17; Ch                  Evident in     evident in the
     41.12 P16-17;                Approved           report(s)
     Ch 35.1.7 P9;                 Reports      (FICs/EPRs) and
       Ch 11.0.1                                  the report(s)
         P16C                                    are approved?
                                                 If a supervisor
                                                    needed to
                                                 watch video to
                                                know about the
                                                        non-
                                                   compliance,
                                                  choose "No."
                                                 (Informational
                                                        Only)
22   CD 144, 146,    Incident   Supervisor On           Did a       1   5               3   8
      151; Ch 1.9               Scene During        supervisor
      P16-17; Ch                    Non-        make the scene
     41.12 P16-17;               Compliance        and did the
     Ch 35.1.7 P9;                                      non-
       Ch 11.0.1                                   compliance
         P16C                                   occur while the
                                                supervisor was
                                                    on scene?
                                                 (Informational
                                                        Only)




                                                                                                24
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23   CD 144, 146,    Incident    Supervisor         Was a         2   5                  3   8
      151; Ch 1.9               Required to      supervisor
      P16-17; Ch                Watch Video      required to
     41.12 P16-17;                                watch the
     Ch 35.1.7 P9;                                  video?
       Ch 11.0.1                              Supervisors are
         P16C                                    required to
                                              watch videos if
                                              one or more of
                                               the following
                                              occurred: a use
                                                   of force,
                                               someone was
                                                  injured, a
                                              complaint was
                                                 made or an
                                                officer told a
                                              supervisor that
                                              he/she thinks a
                                              complaint may
                                                 be made, a
                                              vehicle pursuit,
                                                or an officer
                                                 terminated
                                               his/her video
                                              early to protect
                                               the privacy of
                                               an individual.
                                              (Informational
                                                     Only)
24   CD 144, 146,    Incident   Supervisor         Did the        1   5                  3   8
      151; Ch 1.9               Reviewed         supervisor
      P16-17; Ch                  Video           watch the
     41.12 P16-17;                            video? Review
     Ch 35.1.7 P9;                             the audit trail
       Ch 11.0.1                               for the videos
         P16C                                          in
                                               Evidence.com

25   CD 144, 146,    Incident    Supervisor            Did a      5   5                  3   8
      151; Ch 1.9                 Aware or         supervisor
      P16-17; Ch                Should Have   know or should
     41.12 P16-17;              Been Aware        have known
     Ch 35.1.7 P9;                 of Non-     about the non-
       Ch 11.0.1                compliance       compliance?
         P16C                                  Choose "Yes" if
                                                   any of the
                                                   previous 5
                                                questions are
                                                      "Yes."
27      CD 181       Incident   Reasonably        Does video      8   8   100%   TRUE    0   8
                                Courteous           show the
                                                  officer was
                                                  reasonably
                                                  professional
                                               and courteous
                                                      when
                                              interacting with
                                                the subject or
                                                other civilians
                                                   during the
                                                      stop?
28      CD 181       Incident    Identified      If reasonably    7   8   88%    FALSE   0   8
                                                possible, does
                                               video show the
                                               officer verbally
                                                     identify
                                                                                                 25
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                                                     him/herself as
                                                           a soon a
                                                          practical?
 29        CD 181        Incident    Explained         If reasonably     8   8   100%   TRUE   0   8
                                                      possible, does
                                                     video show the
                                                     officer explain
                                                      the reason for
                                                              the
                                                     stop/interactio
                                                        n as soon as
                                                          practical?
 30     Ch 41.13 P9E     Incident   Subject Could        Does video      8   8   100%   TRUE   0   8
                                       Explain            show the
                                                     officer allowed
                                                      the subject an
                                                     opportunity to
                                                     explain his/her
                                                       situation, ask
                                                       questions, or
                                                    voice concerns?
 31     Ch 41.13 P9E     Incident   Responded to       If the subject    6   6   100%   TRUE   2   8
                                     Subjects Qs     was allowed to
                                                      ask questions,
                                                          and if the
                                                        subject had
                                                         reasonable
                                                       questions or
                                                     concerns, does
                                                     video show the
                                                     officer respond
                                                          to them?
 32     Ch 1.2.4.1 P18   Incident    Conclusion          Does video      8   8   100%   TRUE   0   8
                                                          show the
                                                            officer
                                                      communicate
                                                        the result of
                                                              the
                                                     stop/interactio
                                                    n to the subject
                                                      (arrest, ticket,
                                                             etc.)?
 33        139, 181      Incident     Stop No            Does video      8   8   100%   TRUE   0   8
                                    Longer than       show the stop
                                     Necessary        was no longer
                                                     than necessary
                                                            to take
                                                        appropriate
                                                           action?
34A-D        N/A         Incident     Academy             Does this      0   8                 0   8
                                      Training      incident make a
                                                      good training
                                                             video
                                                     (Informational
                                                             Only)
 35          N/A         Incident       EPIC              Does this      1   8                 0   8
                                                    incident involve
                                                           an EPIC
                                                       Moment; an
                                                            officer
                                                      confronting a
                                                         peer about
                                                          what they
                                                          could do
                                                           better?
                                                     (Informational
                                                             Only)
                                                                                                       26
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36    Ch 41.3.10     Incident     Complete      Did each officer    16   17   94%    FALSE
         P11                        Video       who conducted
                                 Numerator       a stop, search,
                                and Complete      or arrest and
                                    Video        who has been
                                Denominator      issued a BWC
                                                activate his/her
                                                       BWC as
                                                required? And
                                                      did each
                                                supervisor who
                                                made the scene
                                                  and who has
                                                 been issued a
                                                 BWC activate
                                                his/her BWC as
                                                     required?
1A      CD 122       Subject    RS/PC to Stop   Based on all the    6    8    75%    FALSE   0   8
                                                      evidence
                                                    available to
                                                   you, did the
                                                 officer(s) have
                                                    reasonable
                                                   suspicion or
                                                probable cause
                                                    to stop this
                                                      subject?
2A   CD 122, 123,    Subject    RS/PC to Stop   Does the report     6    8    75%    FALSE   0   8
     126, 149, 150                in Report            clearly
                                                     articulate
                                                    reasonable
                                                   suspicion or
                                                probable cause
                                                    to stop this
                                                      subject?
3A    Ch. 1.3.1.1    Subject     Reason for        If the officer   3    3    100%   TRUE    5   8
         P25                     Handcuffs      put the subject
                                Documented        in handcuffs,
                                                 did the officer
                                                   document a
                                                     reason to
                                                handcuff in the
                                                        FIC?
3B    Ch. 1.3.1.1    Subject    Discretionary    If this subject    1    1    100%   TRUE    7   8
                                 Handcuffs              was
                                Within Policy      handcuffed,
                                                      does the
                                                      evidence
                                                available to you
                                                     show the
                                                   handcuffing
                                                    was within
                                                       policy?
3B    Ch. 1.3.1.1    Subject    Mandatory        If this subject    3    3    100%   TRUE    5   8
                                 Handcuffs              was
                                Within Policy      handcuffed,
                                                      does the
                                                      evidence
                                                available to you
                                                     show the
                                                   handcuffing
                                                    was within
                                                       policy?




                                                                                                     27
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 4    CD 149, 150,    Subject   Search Legal     Based on all the    5   9   56%    FALSE
      Ch. 1.2.4 P1               Numerator             evidence
                                 and Search          available to
                                   Legal             you, did the
                                Denominator      officer(s) have a
                                                 valid legal basis
                                                   to search the
                                                        subject?
 5    CD 123, 149     Subject     Reason to            Does the      5   9   56%    FALSE
                                   Search in           "Report"
                                    Report            sufficiently
                                  Numerator           document
                                and Reason to        a valid legal
                                   Search in      basis for every
                                    Report         search of this
                                Denominator             subject?
 6        123,        Subject     Pat Down         If a pat down     3   4                  4   8
      Ch 41.12 P12J              Justification     was correctly
                                                   indicated, did
                                                 the officer give
                                                  specific details
                                                       about the
                                                  subject of the
                                                  pat down that
                                                    would lead a
                                                      reasonable
                                                       person to
                                                      believe the
                                                     subject was
                                                      armed and
                                                    dangerous in
                                                 the justification
                                                    for pat down
                                                       text box?
                                                  Informational
                                                  Only. Included
                                                       in Search
                                                      Report Q5.
7&4      CD 130       Subject     (7) Search         (7) Was this    0   0          TRUE    9   9
                                 Subject on           subject on
                                Probation or           parole or
                                Parole & (4)       probation? &
                                Search Legal     (4) Based on all
                                 Numerator,         the evidence
                                 and Search          available to
                                     Legal           you, did the
                                Denominator      officer(s) have a
                                                 valid legal basis
                                                   to search the
                                                        subject?
 8       CD 144       Subject    Supervisor       Was the arrest     1   1   100%   TRUE    7   8
                                Approved Gist        gist for this
                                  Prior to               subject
                                  Booking         approved by a
                                                      supervisor
                                                      before the
                                                     subject was
                                                  booked by the
                                                        sheriff?
 9       CD 141       Subject   Officer Had PC   Based on all the    1   1   100%   TRUE    7   8
                                   to Arrest           evidence
                                                     available to
                                                     you, did the
                                                     officer have
                                                 probable cause
                                                    to arrest this
                                                        subject?

                                                                                                    28
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10   CD 141, 145,    Subject   PC Clearly       Did the officer         2          2   100%   TRUE   6   8
      Ch 1.9 P14,              Articulated            clearly
      Ch 82.1 P4,                               document the
     Ch 41.12 P15                              probable cause
                                                  in the report
                                                  (FIC or EPR)?
11                   Subject   Stop Result          What was       Informational
                                                result of Stop?         Only
                                               Multiple choice
12                   Subject   Break Given      Did the officer         1          2                 6   8
                                                     use their
                                                  discretion to
                                               give the subject
                                                     a break?
                                                (Informational
                                                       Only)
15     Ch 1.9.1      Subject     Miranda         Did the officer        1          1   100%   TRUE   7   8
                                  Given           give Miranda
                                                     Rights, if
                                                    required?
                                                  Officers shall
                                               advise suspects
                                                      of their
                                                Miranda Rights
                                                 at the time of
                                                arrest or prior
                                               to any custodial
                                                 interrogation.
                                                  See Chapter:
                                                       1.9.1;
                                                Note: Miranda
                                                does not apply
                                                   to roadside
                                                questioning of
                                                    a stopped
                                                 motorist, or a
                                                 person briefly
                                               detained on the
                                                street under a
                                                   Terry stop.
13                   Subject   ID Checked       Did the officer         7          7   100%   TRUE   1   8
                                                      run the
                                                  subject's ID?
14      CD 189       Subject       LEP          Did the officer         0          0          TRUE   8   8
                                                     request
                                                   translation
                                                    services, if
                                                     needed?
20    CD 149 (h)     Subject   Required to       Did an officer         0          0                 8   8
      Ch 1.2.4.3               Exit Vehicle        require this
     P19, Ch 41.12                             subject to exit a
        P12(f)                                       vehicle?
                                                (Informational
                                                       Only)
21    CD 149 (h)     Subject   Vehicle Exit    If you chose yes         0          0          TRUE   8   8
      Ch 1.2.4.3               Justification     for "Required
     P19, Ch 41.12             Documented      to Exit Vehicle",
        P12(f)                                    did an officer
                                                document the
                                                justification to
                                                   require this
                                                subject to exit
                                                 the vehicle in
                                                     the FIC?




                                                                                                             29
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22    CD 149 (h)     Subject   Vehicle Exit    If you chose yes    0   0          TRUE   8   8
      Ch 1.2.4.3               Justification    for Vehicle Exit
     P19, Ch 41.12              Compliant         Justification
        P12(f)                                 Documented, is
                                               the justification
                                                specific to this
                                               subject, and/or
                                                   was a legal
                                                 vehicle search
                                                   conducted
                                                  requiring all
                                                  occupants to
                                                      exit the
                                                     vehicle?
16      CD 189       Subject     Arrest        Was the subject     5   5   100%   TRUE   3   8
                               Immigration           arrested
                                 Status        because of or in
                                                part due to the
                                                     subject's
                                                  immigration
                                                      status?
17      CD 183       Subject    Questioned     Was the subject     8   8   100%   TRUE   0   8
                               Immigration         questioned
                                  Status           about their
                                                  immigration
                                                    status in a
                                                  manner that
                                                      was not
                                                relevant to the
                                                     crime in
                                                    question?
18      CD 185       Subject     Officer        Did the officer    8   8   100%   TRUE   0   8
                                Comment         say something
                                 LGBTQ          that is possibly
                                                    offensive
                                                     about/to
                                                      LGBTQ
                                                  individuals?
19      CD 185       Subject     Officer        Did the officer    8   8   100%   TRUE   0   8
                                 Address           address the
                                 LGBTQ         subject by their
                                                 chosen name,
                                                     title, and
                                                    pronoun?




                                                                                                 30
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                                          Consent to Search Audit Summary Table



                                                                                                                 Compliance
 Audit                                                                                                            Threshold
 Form    CD                                                                   Number     Number     Compliance       Met      Number     Total
   #      ¶      Form     Field Name   Field Text                            Compliant   Required     Rate         (>=95%)      NA     Reviewed
   1     128   Incident   FIC          1. In the FIC, did the officer           4           8          50%          FALSE        0         8
                          Checked      accurately check the appropriate
                          Accurately   boxes to indicate a consent to
                                       search occurred? If a consent to
                                       search did not occur choose "No -
                                       Consent to Search Did Not Occur."
                                       If a consent to search occurred but
                                       the FIC was not completed
                                       correctly choose "No - Consent to
                                       Search Occurred, FIC Not
                                       Accurate."
                                       If a consent to search occurred but
                                       an FIC does not exist for the
                                       incident choose "No - Consent to
                                       Search Occurred, No FIC."

                                       NOPD FIC Policy Chapter 41.12
                                       2(e) states that all searches
                                       conducted without a warrant,
                                       with some exceptions, requires an
                                       FIC be completed.
  2      128   Consent    Supervisor   2. If a consent to search occurred,      0           5          0%          FALSE        3         8
                  to      Notified     does video show the officer
                Search    Before       notified a supervisor before
                          Search       he/she conducted a search based
                          Conducted    on consent? Please provide
                                       timestamp of the video.
  3      128   Consent    Supervisor   3. If a consent to search occurred,      0           5          0%          FALSE        3         8
                  to      Approved     does video show the supervisor
                Search    Before       approved the consent to search
                          Search       before the search was conducted?
                          Conducted    Please provide timestamp of the
                                       video.
  4      129   Consent    Officer      4. If a consent to search occurred,      2           5          40%         FALSE        3         8
                  to      Informed     does video show the officer
                Search    Subject of   informing the subject of his or her
                          His/her      right to refuse and to revoke
                          Rights       consent at any time?
  5      129   Consent    Form 146     5. If a consent to search occurred,      0           5          0%          FALSE        3         8
                  to      Exists       does a Form 146 exist for the
                Search                 consent to search?
  6      131   Consent    Subject      6. If a consent to search occurred,      0           1          0%          FALSE        7         8
                  to      Signed       does form 146 include the
                Search    Form 146     signature of the person granting
                                       consent?
  7      131   Consent    Officer      7. If a consent to search occurred,      0           1          0%          FALSE        7         8
                  to      Signed       does form 146 include the
                Search    Form 146     signature of the officer requesting
                                       consent?

Note: FIC Incorrect (D-13822-22 - CIT Medical Transport; C-27776-22 - SITA, not Consent to Search; D-14597-22 -
CIT Medical Transport; D-25219-22 - Courtesy Ride requires consent to search on FIC, Not Pat-down;) (C-33603-
22, D-11480-22, D-09457-22, D-02179-22 All courtesy rides). 5 courtesy rides, 2 CIT Transports, 1 SITA.
                                                                                                                                                  31
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                                SSA – Strip & Cavity Search Audit Summary Table


                                                                                                                      Complianc
                                                                                                                          e
Audit       CD                                                                                                        Threshold             Total
Form     ¶/Chapte                                                                              Number     Complianc      Met      Number   Reviewe
  #          r       Form         Field Name       Field Text             Number Compliant     Required     e Rate     (>=95%)      NA        d
  1       CD 124     Incident     Known to be      If you suspect an        Offline Process
                                  Materially       officer relied on        through Direct
                                  False            information he or      Supervisor and PSS
                                                   she knew to be                Notify
                                                   materially false or
                                                   incorrect to make
                                                   a stop or
                                                   detention, contact
                                                   your supervisor.
  2      CD 126,     Incident     FIC Exists If    If required, does              2               3         67%         FALSE       0        3
         149, 150                 Required         an FIC exist for
                                                   this stop?
  3       CD 150     Incident     FIC Submitted    Did the officer                2               2         100%        TRUE        1        3
                                  By ETOD          submit the FIC to
                                                   his/her supervisor
                                                   by the end of the
                                                   shift?
  4       CD 150     Incident     FIC Approved     Did the supervisor             2               2         100%        TRUE        1        3
                                  in 72Hrs         review the FIC
                                                   within 72 hours?
  5       CD 123,    Incident     No Boilerplate   In the reports, did            3               3         100%        TRUE        0        3
         136, 145,                                 the officer(s) use
                                                   specific
                                                   descriptive
                                                   language when
                                                   articulating
                                                   reasonable
                                                   suspicion and/or
                                                   probable cause
                                                   for any stop,
                                                   detention, search,
                                                   or arrest?
  6       CD 123     Incident     Videos and       Are the video(s)               2               3         67%         FALSE       0        3
                                  Reports Are      and reports
                                  Consistent       significantly
                                                   consistent?
  7       Ch 1.9     Incident     Arrest in        If yes [video or               0               0          NA         TRUE        3        3
          p27-29                  Residence        reports show the
                                  Circumstances    officer entered a
                                                   residence to make
                                                   the arrest], which
                                                   of the following
                                                   apply?
                                                   Options:
                                                   (Consent, Exigent
                                                   Circumstances,
                                                   Warrant, None of
                                                   the above (Not
                                                   Compliant))
  8C     CD 133,     Incident     Video Shows      If the supervisor is           3               3         100%        TRUE        0        3
(8A,8B    143                     Supervisor       required to make
   )                              Made Scene       scene, does video
                                                   show the
                                                   supervisor made
                                                   the scene?

                                                                                                                                                 32
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9      CD 80,     Incident   Use of Force   Did any officer use     1   3                  0   3
       Ch 1,3                Observed       reportable force
                                            during this officer-
                                            civilian
                                            interaction?
                                            (Informational
                                            Only)
10,    CD 80,     Incident   Use of Force   If Force Observed,      1   1   100%   TRUE    2   3
11     Ch 1,3                Reported       Is there a
                                            corresponding
                                            Blue Team
                                            Report? (No could
                                            indicate it is
                                            unreported) 11.
                                            Provide Video
                                            Documentation.
12    CD 132,     Incident   Strip Cavity   Does the incident       3   3                  0   3
      133, 134               Search         involve a strip or
                             Occurred       cavity search?
                                            (Informational
                                            Only)
13    CD 132,     Incident   Strip Cavity   If Strip/Cavity         2   3   67%    FALSE   0   3
      133, 134               Search         search is
                             Documented     observed(yes), is
                                            the strip or cavity
                                            search
                                            documented in
                                            the FIC or EPR?
14    CD 131,     Incident   Strip-Cavity   Does the incident       0   3                  0   3
       149                   Search         involve a Strip-
                             Occurred       Cavity Search?
                                            (Informational
                                            Only)
15    CD 131,     Incident   Strip-Cavity   If yes, is the Strip-   0   0   NA     TRUE    3   3
       149                   Search         Cavity Search
                             Documented     documented in
                                            the FIC or EPR?
16     CD 150     Incident   Evidence       If evidence was         2   2   100%   TRUE    1   3
                             Documented     seized, is there a
                                            CE+P receipt?
17     CD 150     Incident   Evidence       If evidence was         2   2   100%   TRUE    1   3
                             Submitted      seized, was it
                             Immediately    submitted to CE+P
                                            before next Code1
                                            call or ETOD,
                                            whichever is first?
18    CD 123,     Incident   Evidence       If evidence was         2   2   100%   TRUE    1   3
      149, 150               Description    seized, and there
                             Matches        is a CE+P receipt,
                             Video          does the
                                            description on the
                                            receipt match the
                                            evidence as seen
                                            on video?
19     CD 144,    Incident   Non-           Did you find any        2   3                  0   3
      146, 151;              Compliance     non-compliance
        Ch 1.9               Should Have    related to this
       P16-17;               Been           incident?
      Ch 41.12               Addressed by   (Informational
       P16-17;               Supervisor     Only)
      Ch 35.1.7
        P9; Ch
        11.0.1
        P16C




                                                                                                   33
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20    CD 144,    Incident   Missing         Is there non-         2   2            1   3
     146, 151;              Documentatio    compliance
       Ch 1.9               n               because there is
      P16-17;                               missing
     Ch 41.12                               documentation
      P16-17;                               (FIC, EPR, etc.)?
     Ch 35.1.7                              (Informational
       P9; Ch                               Only)
       11.0.1
       P16C
21    CD 144,    Incident   Non-            Is the non-           2   2            1   3
     146, 151;              compliance      compliance
       Ch 1.9               Evident in      evident in the
      P16-17;               Approved        report(s)
     Ch 41.12               Reports         (FICs/EPRs) and
      P16-17;                               the report(s) are
     Ch 35.1.7                              approved? If a
       P9; Ch                               supervisor needed
       11.0.1                               to watch video to
       P16C                                 know about the
                                            non-compliance,
                                            choose "No."
                                            (Informational
                                            Only)
22    CD 144,    Incident   Supervisor On   Did a supervisor      1   2            1   3
     146, 151;              Scene During    make the scene
       Ch 1.9               Non-            and did the non-
      P16-17;               Compliance      compliance occur
     Ch 41.12                               while the
      P16-17;                               supervisor was on
     Ch 35.1.7                              scene?
       P9; Ch                               (Informational
       11.0.1                               Only)
       P16C
23    CD 144,    Incident   Supervisor      Was a supervisor      0   2            1   3
     146, 151;              Required to     required to watch
       Ch 1.9               Watch Video     the video?
      P16-17;                               Supervisors are
     Ch 41.12                               required to watch
      P16-17;                               videos if one or
     Ch 35.1.7                              more of the
       P9; Ch                               following
       11.0.1                               occurred: a use of
       P16C                                 force, someone
                                            was injured, a
                                            complaint was
                                            made or an officer
                                            told a supervisor
                                            that he/she thinks
                                            a complaint may
                                            be made, a
                                            vehicle pursuit, or
                                            an officer
                                            terminated
                                            his/her video
                                            early to protect
                                            the privacy of an
                                            individual.
                                            (Informational
                                            Only)




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24    CD 144,    Incident   Supervisor      Did the supervisor     0   2                  1   3
     146, 151;              Reviewed        watch the video?
       Ch 1.9               Video           Review the audit
      P16-17;                               trail for the videos
     Ch 41.12                               in Evidence.com
      P16-17;
     Ch 35.1.7
       P9; Ch
       11.0.1
       P16C
25    CD 144,    Incident   Supervisor      Did a supervisor       2   2                  1   3
     146, 151;              Aware or        know or should
       Ch 1.9               Should Have     have known about
      P16-17;               Been Aware      the non-
     Ch 41.12               of Non-         compliance?
      P16-17;               compliance      Choose "Yes" if
     Ch 35.1.7                              any of the
       P9; Ch                               previous 5
       11.0.1                               questions are
       P16C                                 "Yes."
27    CD 181     Incident   Reasonably      Does video show        3   3   100%   TRUE    0   3
                            Courteous       the officer was
                                            reasonably
                                            professional and
                                            courteous when
                                            interacting with
                                            the subject or
                                            other civilians
                                            during the stop?
28    CD 181     Incident   Identified      If reasonably          2   3   67%    FALSE   0   3
                                            possible, does
                                            video show the
                                            officer verbally
                                            identify
                                            him/herself as a
                                            soon a practical?
29    CD 181     Incident   Explained       If reasonably          2   3   67%    FALSE   0   3
                                            possible, does
                                            video show the
                                            officer explain the
                                            reason for the
                                            stop/interaction
                                            as soon as
                                            practical?
30   Ch 41.13    Incident   Subject Could   Does video show        3   3   100%   TRUE    0   3
       P9E                  Explain         the officer
                                            allowed the
                                            subject an
                                            opportunity to
                                            explain his/her
                                            situation, ask
                                            questions, or
                                            voice concerns?
31   Ch 41.13    Incident   Responded to    If the subject was     3   3   100%   TRUE    0   3
       P9E                  Subjects Qs     allowed to ask
                                            questions, and if
                                            the subject had
                                            reasonable
                                            questions or
                                            concerns, does
                                            video show the
                                            officer respond to
                                            them?
32      Ch       Incident   Conclusion      Does video show        3   3   100%   TRUE    0   3
      1.2.4.1                               the officer
       P18                                  communicate the
                                            result of the
                                                                                                  35
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                                               stop/interaction
                                               to the subject
                                               (arrest, ticket,
                                               etc.)?
 33     139, 181    Incident   Stop No         Does video show       3    3    100%   TRUE    0   3
                               Longer than     the stop was no
                               Necessary       longer than
                                               necessary to take
                                               appropriate
                                               action?
34A-D     N/A       Incident   Academy         Does this incident    0    3                   0   3
                               Training        make a good
                                               training video
                                               (Informational
                                               Only)
 35       N/A       Incident   EPIC            Does this incident    0    3                   0   3
                                               involve an EPIC
                                               Moment; an
                                               officer
                                               confronting a
                                               peer about what
                                               they could do
                                               better?
                                               (Informational
                                               Only)
 36       Ch        Incident   Complete        Did each officer      15   17   88%    FALSE
        41.3.10                Video           who conducted a
         P11                   Numerator       stop, search, or
                               and Complete    arrest and who
                               Video           has been issued a
                               Denominator     BWC activate
                                               his/her BWC as
                                               required? And did
                                               each supervisor
                                               who made the
                                               scene and who
                                               has been issued a
                                               BWC activate
                                               his/her BWC as
                                               required?
 1A      CD 122     Subject    RS/PC to Stop   Based on all the      5    5    100%   TRUE    0   5
                                               evidence available
                                               to you, did the
                                               officer(s) have
                                               reasonable
                                               suspicion or
                                               probable cause to
                                               stop this subject?
 2A      CD 122,    Subject    RS/PC to Stop   Does the report       5    5    100%   TRUE    0   5
        123, 126,              in Report       clearly articulate
        149, 150                               reasonable
                                               suspicion or
                                               probable cause to
                                               stop this subject?
 3A        Ch.      Subject    Reason for      If the officer put    2    3    67%    FALSE   2   5
         1.3.1.1               Handcuffs       the subject in
          P25                  Documented      handcuffs, did the
                                               officer document
                                               a reason to
                                               handcuff in the
                                               FIC?
 3B        Ch.      Subject    Discretionary   If this subject was   1    1    100%   TRUE    4   5
         1.3.1.1               Handcuffs       handcuffed, does
                               Within Policy   the evidence
                                               available to you
                                               show the


                                                                                                      36
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                                             handcuffing was
                                             within policy?



3B      Ch.       Subject   Mandatory        If this subject was    3   3   100%   TRUE    2   5
      1.3.1.1               Handcuffs        handcuffed, does
                            Within Policy    the evidence
                                             available to you
                                             show the
                                             handcuffing was
                                             within policy?
 4    CD 149,     Subject   Search Legal     Based on all the       7   9   78%    FALSE
        150,                Numerator        evidence available
      Ch. 1.2.4             and Search       to you, did the
         P1                 Legal            officer(s) have a
                            Denominator      valid legal basis to
                                             search the
                                             subject?
 5    CD 123,     Subject   Reason to        Does the "Report"      7   9   78%    FALSE
       149                  Search in        sufficiently
                            Report           document a valid
                            Numerator        legal basis for
                            and Reason to    every search of
                            Search in        this subject?
                            Report
                            Denominator
 6      123,      Subject   Pat Down         If a pat down was      2   3                  2   5
      Ch 41.12              Justification    correctly
        P12J                                 indicated, did the
                                             officer give
                                             specific details
                                             about the subject
                                             of the pat down
                                             that would lead a
                                             reasonable person
                                             to believe the
                                             subject was
                                             armed and
                                             dangerous in the
                                             justification for
                                             pat down text
                                             box?
                                             Informational
                                             Only. Included in
                                             Search Report Q5.
7&4   CD 130      Subject   (7) Search       (7) Was this           0   0          TRUE    9   9
                            Subject on       subject on parole
                            Probation or     or probation? &
                            Parole & (4)     (4) Based on all
                            Search Legal     the evidence
                            Numerator,       available to you,
                            and Search       did the officer(s)
                            Legal            have a valid legal
                            Denominator      basis to search
                                             the subject?
 8    CD 144      Subject   Supervisor       Was the arrest         3   3   100%   TRUE    2   5
                            Approved Gist    gist for this
                            Prior to         subject approved
                            Booking          by a supervisor
                                             before the
                                             subject was
                                             booked by the
                                             sheriff?
 9    CD 141      Subject   Officer Had PC   Based on all the       3   3   100%   TRUE    2   5
                            to Arrest        evidence available
                                             to you, did the

                                                                                                   37
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                                           officer have
                                           probable cause to
                                           arrest this
                                           subject?
10   CD 141,     Subject   PC Clearly      Did the officer               3            3   100%   TRUE   2   5
       145,                Articulated     clearly document
      Ch 1.9                               the probable
       P14,                                cause in the
     Ch 82.1                               report (FIC or
        P4,                                EPR)?
     Ch 41.12
       P15
11               Subject   Stop Result     What was result       Informational Only
                                           of Stop? Multiple
                                           choice
12               Subject   Break Given     Did the officer use           0            3                 2   5
                                           their discretion to
                                           give the subject a
                                           break?
                                           (Informational
                                           Only)
15   Ch 1.9.1    Subject   Miranda          Did the officer              3            3   100%   TRUE   2   5
                           Given           give Miranda
                                           Rights, if
                                           required?
                                           Officers shall
                                           advise suspects of
                                           their Miranda
                                           Rights at the time
                                           of arrest or prior
                                           to any custodial
                                           interrogation. See
                                           Chapter: 1.9.1;
                                           Note: Miranda
                                           does not apply to
                                           roadside
                                           questioning of a
                                           stopped motorist,
                                           or a person briefly
                                           detained on the
                                           street under a
                                           Terry stop.
13               Subject   ID Checked      Did the officer run           5            5   100%   TRUE   0   5
                                           the subject's ID?
14    CD 189     Subject   LEP             Did the officer               0            0          TRUE   5   5
                                           request
                                           translation
                                           services, if
                                           needed?
20   CD 149      Subject   Required to     Did an officer                0            0                 5   5
     (h)                   Exit Vehicle    require this
     Ch                                    subject to exit a
     1.2.4.3                               vehicle?
     P19, Ch                               (Informational
     41.12                                 Only)
     P12(f)
21     CD 149    Subject   Vehicle Exit    If you chose yes              0            0          TRUE   5   5
         (h)               Justification   for "Required to
         Ch                Documented      Exit Vehicle", did
       1.2.4.3                             an officer
      P19, Ch                              document the
        41.12                              justification to
       P12(f)                              require this
                                           subject to exit the
                                           vehicle in the FIC?



                                                                                                                38
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22   CD 149    Subject   Vehicle Exit    If you chose yes      0   0          TRUE   5   5
       (h)               Justification   for Vehicle Exit
       Ch                Compliant       Justification
     1.2.4.3                             Documented, is
     P19, Ch                             the justification
      41.12                              specific to this
      P12(f)                             subject, and/or
                                         was a legal vehicle
                                         search conducted
                                         requiring all
                                         occupants to exit
                                         the vehicle?
16   CD 189    Subject   Arrest          Was the subject       5   5   100%   TRUE   0   5
                         Immigration     arrested because
                         Status          of or in part due
                                         to the subject's
                                         immigration
                                         status?
17   CD 183    Subject   Questioned      Was the subject       5   5   100%   TRUE   0   5
                         Immigration     questioned about
                         Status          their immigration
                                         status in a manner
                                         that was not
                                         relevant to the
                                         crime in question?
18   CD 185    Subject   Officer         Did the officer say   5   5   100%   TRUE   0   5
                         Comment         something that is
                         LGBTQ           possibly offensive
                                         about/to LGBTQ
                                         individuals?
19   CD 185    Subject   Officer         Did the officer       5   5   100%   TRUE   0   5
                         Address         address the
                         LGBTQ           subject by their
                                         chosen name,
                                         title, and
                                         pronoun?




                                                                                             39
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                          Strip & Cavity Search Audit Summary Table



                                                                                                   Complianc
                                                                                                       e
Audit                                                                                     Compli   Threshold             Total
Form                                                                Number     Number      ance       Met      Number   Reviewe
  #      CD ¶       Form       Field Name       Field Text         Compliant   Required    Rate     (>=95%)      NA        d
  2       Ch.    Strip/Cavit   Video            Complete              15          16       94%       FALSE
        41.4.1        y        Complete         Video Exists
         P10                                    Did each
                                                officer(s) who
                                                made the
                                                scene and who
                                                has been
                                                issued a BWC
                                                activate
                                                his/her BWC as
                                                required?

                                                Ch. 41.4.1 P10
 3       132     Strip/Cavit   Probable         Based on the          3           3       100%       TRUE        0        3
                      y        Cause for        evidence
                               Search           available to
                                                you, was there
                                                probable cause
                                                to conduct the
                                                strip or cavity
                                                search?

                                                CD 132
 4       132     Strip/Cavit   Probable         In the FIC or         3           3       100%       TRUE        0        3
                      y        Cause            EPR or Search
                               Articulated in   Warrant, did
                               FIC, EPR or      the officer
                               Warrant          articulate
                                                probable cause
                                                that the
                                                subject was
                                                concealing a
                                                weapon or
                                                contraband?

                                                CD 132
 5       132     Strip/Cavit   Field Strip      If the incident       3           3       100%       TRUE        0        3
                      y        Search           involved a strip
                                                search in the
                                                field, does the
                                                FIC or EPR
                                                explain
                                                "exigent
                                                circumstances
                                                where the life
                                                of officers or
                                                others may be
                                                placed at
                                                risk"?

                                                CD 132




                                                                                                                                  40
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6       133       Strip/Cavit   Supervisor        If the incident    3   3   100%   TRUE    0   3
                       y        Approved          involved a strip
                                Strip Search      search, does
                                                  video or the
                                                  report show
                                                  the officer
                                                  received
                                                  approval to
                                                  conduct the
                                                  strip search?

                                                  CD 133
7     133 Ch.     Strip/Cavit   Supervisor        If the incident    2   3   67%    FALSE   0   3
     1.2.4 P 47        y        Approved          involved a strip
         A                      Strip Search in   search, did the
                                Writing           officer receive
                                                  written
                                                  approval from
                                                  a supervisor
                                                  for the strip
                                                  search?

                                                  Ch. 1.2.4 P 47
                                                  A
8       133       Strip/Cavit   Supervisor        If the incident    3   3   100%   TRUE    0   3
                       y        Made Scene        involved a strip
                                                  search and the
                                                  officer
                                                  received
                                                  approval from
                                                  a supervisor,
                                                  does video or
                                                  the report
                                                  show the
                                                  supervisor
                                                  make the
                                                  scene?

                                                  CD 133
9       133       Strip/Cavit   Minimum #         If the incident    3   3   100%   TRUE    0   3
                       y        Officers          involved a strip
                                Present for       search, do
                                Strip Search      reports or
                                                  video show the
                                                  minimum
                                                  number of
                                                  officers
                                                  necessary to
                                                  conduct the
                                                  strip search?

                                                  CD 133
10      133       Strip/Cavit   Strip Gender      If the incident    2   3   67%    FALSE   0   3
                       y        Identified        involved a strip
                                                  search, did the
                                                  officer take the
                                                  necessary
                                                  steps to
                                                  identify the
                                                  subject's
                                                  identified
                                                  gender?

                                                  The officer
                                                  should say
                                                  something like
                                                  "Our policy

                                                                                                    41
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                                        requires the
                                        officer
                                        conducting the
                                        strip search to
                                        be the same
                                        gender as the
                                        person being
                                        searched. To
                                        ensure
                                        compliance
                                        with that
                                        policy, should
                                        we have a
                                        policeman or
                                        policewoman
                                        conduct the
                                        search?”

                                        CD 133
11   133   Strip/Cavit   Officer Who    If the incident    3   3   100%   TRUE   0   3
                y        Conducted      involved a strip
                         Search is      search, do
                         Same Gender    reports or
                         as Subject     video show the
                                        strip search
                                        was performed
                                        by officers of
                                        the same
                                        gender as the
                                        identified
                                        gender of the
                                        subject?

                                        This question
                                        corresponds to
                                        question 8
                                        above. For
                                        example, if the
                                        subject
                                        informed the
                                        officer that a
                                        policeman
                                        should
                                        conduct the
                                        search, and all
                                        officers
                                        conducting the
                                        search were
                                        male, choose
                                        "Yes."
12   132   Strip/Cavit   Privacy Was    If the incident    3   3   100%   TRUE   0   3
                y        Provided for   involved a strip
                         Search         search, do
                                        reports or
                                        video show it
                                        was conducted
                                        under
                                        conditions that
                                        provided
                                        privacy from
                                        all but those
                                        authorized to
                                        conduct the
                                        search?

                                        CD 132


                                                                                         42
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13     133       Strip/Cavit   Strip            If the incident    3   3   100%   TRUE   0   3
                      y        Professional     involved a strip
                                                search, does
                                                video show it
                                                was conducted
                                                in a
                                                professional
                                                manner?

                                                CD 133
14    133 Ch.    Strip/Cavit   Strip Location   If the incident    3   3   100%   TRUE   0   3
     1.2.4 P49        y        of Evidence      involved a strip
         H                                      search, does
                                                documentatio
                                                n include a list
                                                of the items, if
                                                any, recovered
                                                during the
                                                search and the
                                                location on the
                                                body where
                                                found?

                                                Ch. 1.2.4 P49 H
15     134       Strip/Cavit   Cavity Search    If the incident    0   0          TRUE   3   3
                      y        Conducted by     involved a
                               Medical          cavity search,
                               Personnel        do reports
                                                show it was
                                                conducted by
                                                medical
                                                personnel?

                                                CD 134
16     134       Strip/Cavit   Cavity Search    If the incident    0   0          TRUE   3   3
                      y        At Medical       involved a
                               Facility         cavity search,
                                                do reports
                                                show it was
                                                conducted by
                                                at a medical
                                                facility?

                                                Ch. 1.2.4 P52
17     134       Strip/Cavit   Warrant          If the incident    0   0          TRUE   3   3
                      y        Obtained for     involved a
                               Cavity Search    cavity search,
                                                reports show
                                                the officer got
                                                a search
                                                warrant?

                                                CD 134
18     134       Strip/Cavit     Warrant        If the incident    0   0          TRUE   3   3
                      y        Obtained for     involved a
                               Cavity Search    cavity search,
                                                reports show
                                                the officer got
                                                a search
                                                warrant?

                                                CD 134




                                                                                                 43
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19-22    CD 144,    Incident   Non-           If evidence      To be used
        146, 151;              Compliance     was seized,          for
          Ch 1.9               Addressed by   and there is a   Supervisio
         P16-17;               Supervisor     CE+P receipt,    n Auditing
        Ch 41.12                              does the
         P16-17;                              description on
        Ch 35.1.7                             the receipt
          P9; Ch                              match the
          11.0.1                              evidence as
          P16C                                seen on video?




                                                                                      44
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                                   SSA – Probation & Parole Audit Summary Table



                                                                                                                       Compliance
                                                                                                                        Threshold
 Audit       CD                                                                    Number      Number     Compliance       Met      Number     Total
Form #    ¶/Chapter     Form        Field Name         Field Text                 Compliant    Required      Rate        (>=95%)      NA     Reviewed
   1       CD 124       Incident    Known to be        If you suspect an            Offline
                                    Materially False   officer relied on           Process
                                                       information he or she       through
                                                       knew to be materially        Direct
                                                       false or incorrect to      Supervisor
                                                       make a stop or              and PSS
                                                       detention, contact           Notify
                                                       your supervisor.
  2        CD 126,      Incident    FIC Exists If      If required, does an          40          40         100%         TRUE         0        40
           149, 150                 Required           FIC exist for this stop?

  3         CD 150      Incident    FIC Submitted By   Did the officer submit        26          30          87%         FALSE        10       40
                                    ETOD               the FIC to his/her
                                                       supervisor by the end
                                                       of the shift?
  4         CD 150      Incident    FIC Approved in    Did the supervisor            31          40          78%         FALSE        0        40
                                    72Hrs              review the FIC within
                                                       72 hours?
  5        CD 123,      Incident    No Boilerplate     In the reports, did the       40          40         100%         TRUE         0        40
          136, 145,                                    officer(s) use specific
                                                       descriptive language
                                                       when articulating
                                                       reasonable suspicion
                                                       and/or probable
                                                       cause for any stop,
                                                       detention, search, or
                                                       arrest?
  6         CD 123      Incident    Videos and         Are the video(s) and          32          37          86%         FALSE        3        40
                                    Reports Are        reports significantly
                                    Consistent         consistent?
  7       Ch 1.9 p27-   Incident    Arrest in          If yes [video or               1           1         100%         TRUE         39       40
              29                    Residence          reports show the
                                    Circumstances      officer entered a
                                                       residence to make the
                                                       arrest], which of the
                                                       following apply?
                                                       Options: (Consent,
                                                       Exigent
                                                       Circumstances,
                                                       Warrant, None of the
                                                       above (Not
                                                       Compliant))
  8C       CD 133,      Incident    Video Shows        If the supervisor is          14          15          93%         FALSE        25       40
(8A,8B)     143                     Supervisor Made    required to make
                                    Scene              scene, does video
                                                       show the supervisor
                                                       made the scene?
  9         CD 80,      Incident    Use of Force       Did any officer use            7          38                                   0        38
            Ch 1,3                  Observed           reportable force
                                                       during this officer-
                                                       civilian interaction?
                                                       (Informational Only)
  10,       CD 80,      Incident    Use of Force       If Force Observed, Is          7           7         100%         TRUE         31       38
  11        Ch 1,3                  Reported           there a corresponding
                                                       Blue Team Report?
                                                                                                                                                    45
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                                                (No could indicate it is
                                                unreported) 11.
                                                Provide Video
                                                Documentation.
12    CD 132,      Incident   Strip Cavity      Does the incident          0    40                  0    40
      133, 134                Search Occurred   involve a strip or
                                                cavity search?
                                                (Informational Only)
13    CD 132,      Incident   Strip Cavity      If Strip/Cavity search     0    0    NA     TRUE    40   40
      133, 134                Search            is observed(yes), is
                              Documented        the strip or cavity
                                                search documented in
                                                the FIC or EPR?
14    CD 131,      Incident   Consent to        Does the incident          0    40                  0    40
       149                    Search Occurred   involve a consent to
                                                search?
                                                (Informational Only)
15    CD 131,      Incident   Consent to        If yes, is the consent     0    0    NA     TRUE    40   40
       149                    Search            to search
                              Documented        documented in the
                                                FIC or EPR?
16     CD 150      Incident   Evidence          If evidence was            15   16   94%    FALSE   24   40
                              Documented        seized, is there a CE+P
                                                receipt?
17     CD 150      Incident   Evidence          If evidence was            15   16   94%    FALSE   24   40
                              Submitted         seized, was it
                              Immediately       submitted to CE+P
                                                before next Code1
                                                call or ETOD,
                                                whichever is first?
18    CD 123,      Incident   Evidence          If evidence was            15   15   100%   TRUE    25   40
      149, 150                Description       seized, and there is a
                              Matches Video     CE+P receipt, does
                                                the description on the
                                                receipt match the
                                                evidence as seen on
                                                video?
19     CD 144,     Incident   Non-Compliance    Did you find any non-      11   40                  0    40
      146, 151;               Should Have       compliance related to
     Ch 1.9 P16-              Been Addressed    this incident?
        17; Ch                by Supervisor     (Informational Only)
     41.12 P16-
        17; Ch
      35.1.7 P9;
      Ch 11.0.1
        P16C
20     CD 144,     Incident   Missing           Is there non-              1    11                  29   40
      146, 151;               Documentation     compliance because
     Ch 1.9 P16-                                there is missing
        17; Ch                                  documentation (FIC,
     41.12 P16-                                 EPR, etc.)?
        17; Ch                                  (Informational Only)
      35.1.7 P9;
      Ch 11.0.1
        P16C
21     CD 144,     Incident   Non-compliance    Is the non-compliance      4    11                  29   40
      146, 151;               Evident in        evident in the
     Ch 1.9 P16-              Approved          report(s) (FICs/EPRs)
        17; Ch                Reports           and the report(s) are
     41.12 P16-                                 approved? If a
        17; Ch                                  supervisor needed to
      35.1.7 P9;                                watch video to know
      Ch 11.0.1                                 about the non-
        P16C                                    compliance, choose
                                                "No."
                                                (Informational Only)

                                                                                                              46
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22     CD 144,     Incident   Supervisor On     Did a supervisor make     3    11                 29   40
      146, 151;               Scene During      the scene and did the
     Ch 1.9 P16-              Non-Compliance    non-compliance occur
        17; Ch                                  while the supervisor
     41.12 P16-                                 was on scene?
        17; Ch                                  (Informational Only)
      35.1.7 P9;
      Ch 11.0.1
        P16C
23     CD 144,     Incident   Supervisor        Was a supervisor          4    11                 29   40
      146, 151;               Required to       required to watch the
     Ch 1.9 P16-              Watch Video       video? Supervisors
        17; Ch                                  are required to watch
     41.12 P16-                                 videos if one or more
        17; Ch                                  of the following
      35.1.7 P9;                                occurred: a use of
      Ch 11.0.1                                 force, someone was
        P16C                                    injured, a complaint
                                                was made or an
                                                officer told a
                                                supervisor that
                                                he/she thinks a
                                                complaint may be
                                                made, a vehicle
                                                pursuit, or an officer
                                                terminated his/her
                                                video early to protect
                                                the privacy of an
                                                individual.
                                                (Informational Only)
24     CD 144,     Incident   Supervisor        Did the supervisor        7    11                 29   40
      146, 151;               Reviewed Video    watch the video?
     Ch 1.9 P16-                                Review the audit trail
        17; Ch                                  for the videos in
     41.12 P16-                                 Evidence.com
        17; Ch
      35.1.7 P9;
      Ch 11.0.1
        P16C
25     CD 144,     Incident   Supervisor        Did a supervisor know     10   11                 29   40
      146, 151;               Aware or Should   or should have known
     Ch 1.9 P16-              Have Been         about the non-
        17; Ch                Aware of Non-     compliance? Choose
     41.12 P16-               compliance        "Yes" if any of the
        17; Ch                                  previous 5 questions
      35.1.7 P9;                                are "Yes."
      Ch 11.0.1
        P16C
27     CD 181      Incident   Reasonably        Does video show the       37   37   100%   TRUE   3    40
                              Courteous         officer was
                                                reasonably
                                                professional and
                                                courteous when
                                                interacting with the
                                                subject or other
                                                civilians during the
                                                stop?
28     CD 181      Incident   Identified        If reasonably possible,   37   37   100%   TRUE   3    40
                                                does video show the
                                                officer verbally
                                                identify him/herself
                                                as a soon a practical?
29     CD 181      Incident   Explained         If reasonably possible,   37   37   100%   TRUE   3    40
                                                does video show the
                                                officer explain the
                                                reason for the

                                                                                                            47
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                                                   stop/interaction as
                                                   soon as practical?

 30     Ch 41.13     Incident   Subject Could      Does video show the       37    37    100%   TRUE    3   40
          P9E                   Explain            officer allowed the
                                                   subject an
                                                   opportunity to explain
                                                   his/her situation, ask
                                                   questions, or voice
                                                   concerns?
 31     Ch 41.13     Incident   Responded to       If the subject was        37    37    100%   TRUE    3   40
          P9E                   Subjects Qs        allowed to ask
                                                   questions, and if the
                                                   subject had
                                                   reasonable questions
                                                   or concerns, does
                                                   video show the officer
                                                   respond to them?
 32     Ch 1.2.4.1   Incident   Conclusion         Does video show the       37    37    100%   TRUE    3   40
           P18                                     officer communicate
                                                   the result of the
                                                   stop/interaction to
                                                   the subject (arrest,
                                                   ticket, etc.)?
 33      139, 181    Incident   Stop No Longer     Does video show the       37    37    100%   TRUE    3   40
                                than Necessary     stop was no longer
                                                   than necessary to
                                                   take appropriate
                                                   action?
34A-D      N/A       Incident   Academy            Does this incident         3    37                   3   40
                                Training           make a good training
                                                   video
                                                   (Informational Only)
 35        N/A       Incident   EPIC               Does this incident         0    37                   3   40
                                                   involve an EPIC
                                                   Moment; an officer
                                                   confronting a
                                                   peer about what they
                                                   could do better?
                                                   (Informational Only)
 36     Ch 41.3.10   Incident   Complete Video     Did each officer who      138   157   88%    FALSE
           P11                  Numerator and      conducted a stop,
                                Complete Video     search, or arrest and
                                Denominator        who has been issued
                                                   a BWC activate
                                                   his/her BWC as
                                                   required? And did
                                                   each supervisor who
                                                   made the scene and
                                                   who has been issued
                                                   a BWC activate
                                                   his/her BWC as
                                                   required?
 1A      CD 122      Subject    RS/PC to Stop      Based on all the          39    40    98%    TRUE    0   40
                                                   evidence available to
                                                   you, did the officer(s)
                                                   have reasonable
                                                   suspicion or probable
                                                   cause to stop this
                                                   subject?
 2A      CD 122,     Subject    RS/PC to Stop in   Does the report           39    40    98%    TRUE    0   40
        123, 126,               Report             clearly articulate
        149, 150                                   reasonable suspicion
                                                   or probable cause to
                                                   stop this subject?



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3A    Ch. 1.3.1.1   Subject   Reason for         If the officer put the    38   38   100%   TRUE   2    40
         P25                  Handcuffs          subject in handcuffs,
                              Documented         did the officer
                                                 document a reason to
                                                 handcuff in the FIC?
3B    Ch. 1.3.1.1   Subject   Discretionary      If this subject was       7    7    100%   TRUE   33   40
                              Handcuffs          handcuffed, does the
                              Within Policy      evidence available to
                                                 you show the
                                                 handcuffing was
                                                 within policy?
3B    Ch. 1.3.1.1   Subject   Mandatory          If this subject was       33   33   100%   TRUE   7    40
                              Handcuffs          handcuffed, does the
                              Within Policy      evidence available to
                                                 you show the
                                                 handcuffing was
                                                 within policy?
 4    CD 149,       Subject   Search Legal       Based on all the          56   56   100%   TRUE
        150,                  Numerator and      evidence available to
      Ch. 1.2.4               Search Legal       you, did the officer(s)
         P1                   Denominator        have a valid legal
                                                 basis to search the
                                                 subject?
 5     CD 123,      Subject   Reason to          Does the "Report"         53   53   100%   TRUE
        149                   Search in Report   sufficiently document
                              Numerator and      a valid legal basis for
                              Reason to          every search of this
                              Search in Report   subject?
                              Denominator
 6      123,        Subject   Pat Down           If a pat down was         6    8                  32   40
      Ch 41.12                Justification      correctly
        P12J                                     indicated, did the
                                                 officer give specific
                                                 details about the
                                                 subject of the pat
                                                 down that would lead
                                                 a reasonable person
                                                 to believe the subject
                                                 was armed and
                                                 dangerous in the
                                                 justification for pat
                                                 down text box?
                                                 Informational Only.
                                                 Included in Search
                                                 Report Q5.
7&4    CD 130       Subject   (7) Search         (7) Was this              49   49   100%   TRUE   7    56
                              Subject on         subject on parole or
                              Probation or       probation? & (4)
                              Parole & (4)       Based on all the
                              Search Legal       evidence available to
                              Numerator, and     you, did the officer(s)
                              Search Legal       have a valid legal
                              Denominator        basis to search the
                                                 subject?
 8     CD 144       Subject   Supervisor         Was the arrest gist for   17   17   100%   TRUE   23   40
                              Approved Gist      this subject approved
                              Prior to Booking   by a supervisor before
                                                 the subject was
                                                 booked by the
                                                 sheriff?
 9     CD 141       Subject   Officer Had PC     Based on all the          28   28   100%   TRUE   12   40
                              to Arrest          evidence available to
                                                 you, did the officer
                                                 have probable cause
                                                 to arrest this subject?



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10    CD 141,      Subject   PC Clearly         Did the officer clearly         27         28   96%    TRUE    12   40
        145,                 Articulated        document the
     Ch 1.9 P14,                                probable cause in the
     Ch 82.1 P4,                                report (FIC or EPR)?
      Ch 41.12
        P15
11                 Subject   Stop Result        What was result of         Informational
                                                Stop? Multiple choice           Only

12                 Subject   Break Given        Did the officer use             2          34                  6    40
                                                their discretion to
                                                give the subject a
                                                break?
                                                (Informational Only)
15    Ch 1.9.1     Subject   Miranda Given       Did the officer give           34         36   94%    FALSE   4    40
                                                Miranda Rights, if
                                                required? Officers
                                                shall advise suspects
                                                of their Miranda
                                                Rights at the time of
                                                arrest or prior to any
                                                custodial
                                                interrogation. See
                                                Chapter: 1.9.1;
                                                Note: Miranda does
                                                not apply to roadside
                                                questioning of a
                                                stopped motorist, or a
                                                person briefly
                                                detained on the
                                                street under a Terry
                                                stop.
13                 Subject   ID Checked         Did the officer run the         37         37   100%   TRUE    3    40
                                                subject's ID?
14     CD 189      Subject   LEP                Did the officer                 0          0           TRUE    40   40
                                                request translation
                                                services, if needed?
20   CD 149 (h)    Subject   Required to Exit   Did an officer require          9          11                  29   40
     Ch 1.2.4.3              Vehicle            this subject to exit a
     P19, Ch                                    vehicle?
     41.12                                      (Informational Only)
     P12(f)
21    CD 149 (h)   Subject   Vehicle Exit       If you chose yes for            8          9    89%    FALSE   31   40
      Ch 1.2.4.3             Justification      "Required to Exit
       P19, Ch               Documented         Vehicle", did an
        41.12                                   officer document the
        P12(f)                                  justification to require
                                                this subject to exit the
                                                vehicle in the FIC?
22   CD 149 (h)    Subject   Vehicle Exit       If you chose yes for            8          8    100%   TRUE    32   40
     Ch 1.2.4.3              Justification      Vehicle Exit
      P19, Ch                Compliant          Justification
       41.12                                    Documented, is the
       P12(f)                                   justification specific
                                                to this subject, and/or
                                                was a legal vehicle
                                                search conducted
                                                requiring all
                                                occupants to exit the
                                                vehicle?
16     CD 189      Subject   Arrest             Was the subject                 30         30   100%   TRUE    10   40
                             Immigration        arrested because of
                             Status             or in part due to the
                                                subject's immigration
                                                status?



                                                                                                                         50
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17   CD 183   Subject   Questioned        Was the subject         37   37   100%   TRUE   3   40
                        Immigration       questioned about
                        Status            their immigration
                                          status in a manner
                                          that was not relevant
                                          to the crime in
                                          question?
18   CD 185   Subject   Officer           Did the officer say     37   37   100%   TRUE   3   40
                        Comment           something that is
                        LGBTQ             possibly offensive
                                          about/to LGBTQ
                                          individuals?
19   CD 185   Subject   Officer Address   Did the officer         37   37   100%   TRUE   3   40
                        LGBTQ             address the subject
                                          by their chosen name,
                                          title, and pronoun?




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 Conclusion
Results
The results of this audit were verified through two processes:

   1. Double-blind auditor peer review
   2. Audit supervisor review

In the double-blind auditor peer review, two auditors independently assessed each incident and
completed the initial SSA Incident and Subject form entries. The two auditors then discussed and
resolved any discrepancies between the two sets of results. Any discrepancy that cannot be resolved
was escalated to their supervisor who then resolved the discrepancy, and who may have also drawn
on the expertise of others, including but not limited to the PSAB Deputy Superintendent, the PSAB
Captain, other PSAB Innovation Managers, members of the Education and Training Division, members
of the District Attorney’s office, members of the Office of the Consent Decree Monitor, and members
of the Department of Justice.

During the Audit Supervisor review, an Innovation Manager reviewed the resolved audit results for
accuracy and completeness. Any issues were sent back to auditors for corrections and the
interaction is documented on the audit forms.

The following deviations from compliance were identified in the SSA audit results:

FICs should be submitted by the end of the shift and approved by a supervisor within 72 hours. FIC
submitted scored 92%, an improvement over the previous score of 82%. The FIC approved within
72 hours scored 78%, same as previous audit.

Videos and reports consistent metric scored 79 of 95 (83%). Most discrepancies involve minor
errors, such as typographical errors. Examples include incomplete or inadequate documentation.
This is an improvement to the previous audit which scored 55 of 85 consistent (65%).

If reasonably possible, officers should identify him/herself as soon as practical during an interaction.
Auditors review if video shows that the officer verbally identified him/herself. This category was
scored 93%. This is an improvement to the previous audit score of 72%.

For the “Complete Video” question, auditors check if each officer that conducted a stop, search, or
arrest activated his/her BWC as required. If the officer is not assigned a BWC, the question is NA.
The includes supervisors who made the scene and have been issued a BWC. Of the 33 non-compliant
videos reviewed, 22 were related to incomplete videos at CLU, 8 incidents where the officer was
late in activating their BWC, and 3 missing or could not be found. This category was scored 89%.
This is an improvement to the previous audit score of 81%. Early BWC shut-off at CLU remains the
focus of FOB in-service training and the CAP as there continues to be some confusion when officers
should turn their cameras off when entering Lockup.


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   The category “Reason to Search in Report” scores whether the reason for each search was
   sufficiently documented in the report. This category does not address whether a valid reason to
   search existed, only whether a valid legal basis to search was documented in the corresponding
   report. For this audit, the category was scored 90%. This is an improvement to the previous audit
   score of 83%.

          For “Pat Down Justification,” if a pat down was correctly indicated, auditors check if the
          officer gave specific details about the subject of the pat down that would lead a reasonable
          person to believe the subject was armed and dangerous in the corresponding text box of the
          FIC. This category was scored was scored (13/20) compliant. The previous audit score was
          (9/15). Note that these audit counts are included in the categories “Search Legal” and
          “Reason to Search in Report”.


   “Miranda Given, if required” determines if the subject was read their “Miranda Rights” following an
   arrest. This new metric was added following the previous audit review. This new category was
   scored 87%.

   “Vehicle Exit Justification Documented” determines if the officer properly documented the reason
   they requested a subject to exit a vehicle during a stop. This new metric was added following the
   previous audit review. This new category was scored 93%.


   With the ongoing FOB “Corrective Action Plan” currently being implemented, only material policy
   deficiencies identified in the review process were forwarded to the PSS Captain via the “Notify PSS”
   protocol for follow-up, redirection, or disciplinary action if needed.

   All auditing deficiencies identified in the review process were documented in the PSAB reports and
   scorecards and sent directly to the various districts for review and action if needed. Note the
   districts which responded back to PSAB with their follow-up actions and re-evaluations.

   Recommendations

1. Continue to work with Academy and the Field Operations Bureau to provide additional training on:
      a. FIC/EPR documentation
      b. BWC activation and de-activation
      c. Search/Pat Down
2. Continue to work with Policy Standards Section to develop DTB’s to address deficiencies.
3. Continue FOB Inspections (District SSA self-assessment audits) to reinforce training and take
   corrective actions to progress the consistent improvement.
4. The Field Operations Bureau is currently utilizing the Corrective Action Plan previously agreed to
   with OCDM.

  Re-Evaluation Results

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8th District Review: Under the SSA Scorecard Incident section the 8th District was marked for a video
and report not being consistent. Audit used a supplemental report that was written by unit 147B that
made the arrest. The auditor discovered some sequence of events on the Officers BWC that were
not articulated in the EPR. Should be on the First District since their officer wrote the video and
supplemental report was from a 1st District Officer.
PSAB Response: ARU confirmed that it was approved by 8th District DIU Sergeant. The incident
report was filed under the 8th District. No change to the score.

 8th District Review: Under the Subjects the 8th District was marked for reason for handcuffing
documented in report. This is a supplemental report, and it is clear that the officer didn’t have any
contact with the arrested subject. The report states he was arrested by the officer and was
transported by another Officer. The report is documenting an existing warrant that the subject was
also charged with after his arrest.

PSAB Response: ARU confirmed that it was an arrest supplemental report, and no FIC was required.
This has been updated from No to Not Applicable.

8th District Review: Under the Probation and Parole, the 8th District was marked. After reviewing
the video, the FIC, and the report, there was no pat down conducted. The subject was acting irate,
so the officer requested additional units, handcuffed the subject, conducted a quick search of the
subject, and had to hold the subject until additional officers arrived to keep him from moving around.
At that time the subject had already been placed under arrest. The FIC also states no pat down was
conducted. Under the search category the 8th was marked for the Officer having no legal basis to
search. The auditor stated that the pat down justification was insufficient. There was no pat down
conducted. The subject had been handcuffed and was already under arrest.

PSAB Response: After reviewing the BWC, ARU confirmed that the officer did a search incident to
arrest, and not a pat-down of the arrested subject. This has been updated from No and NA. Also,
the number of legal searches updated to 2 of 2.

8th District Review: Under the Vehicle Exit the 8th was marked for vehicle exit justification
documented. In the narrative of both FIC’s, it states why the officer had the subject exit the vehicle.
The officer observed in plain sight narcotics in the vehicle with the subject. The subject was inside of
an abandoned vehicle and was believed to be wanted

PSAB Response: After reviewing the BWC and reading FIC, ARU confirmed that the reasons for having
the persons exit the vehicle were within policy and justified. The entries were updated from No to
Yes.

4th District Review: The Officer was on the scorecard for a missing BWC and a missing FIC. Officers
assisted the Detective with a 10-27 check marked up 21 NAT. The Detective arrested the subject for
a stolen vehicle. The Officer charged the subject for a court capias. The Officer incorrectly labeled his
BWC video. On the incident table, it says that an FIC was not required. However, in the auditor notes
on the last incident tab, it is noted that there was no FIC. The Officer or Detective should have
                                                                                                            54
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completed an FIC for the 10-27 check.

Actions taken by District: A SFL was generated for the Officer regarding the BWC deficiency.

PSAB Response: No further review required.

4th District Review: Officer indicated he did a pat down on his FIC but did not provide sufficient
justification. He made no mention of the subject possibly being armed. He stated the subject was
searched for weapons after being identified as the perpetrator of a shoplifting. He should have just
done a search incident to arrest and shouldn’t have checked off pat down at all.

Actions taken by District: A SFL was generated for the Officer regarding the FIC deficiency.

PSAB Response: No further review required.

4th District Review: Sergeant reviewed the flag for non-compliance with policy for the public safety
ride offered by SPO. Officer was assisting a consumer in crisis with bringing a loved one to them
which would, in effect, neutralize their anxiety and allow for stabilization on-scene without involving
psychiatric care. The following information was documented by PSAB staff:

“OFFICER CONDUCTED A SEARCH ON SUBJ PRIOR TO THE COURTESY RIDE (INCORRECTLY
CATEGORIZED AS A PATDOWN ON THE FIC).

MM 1:00 OFFICER EXITS CRUISER AND INTRODUCES HIMSELF
MM 2:16 SEARCHES SUBJ
MM 2:40 PLACES SUBJ IN CRUISER
MM 3:38 TRANSPORTS SUBJ FROM 1500 (BLOCK OF) S. RAMPART TO 3500 GARDEN OAKS DR
MM 11:18 10-97 AT 3500 GARDEN OAKS DR W/ SUBJ
MM 11:40 REMOVES SUBJ FROM HIS CRUISER

AUDITED ON 06JUN2022/LRL”

The Sergeant reviewed the video in question and observed the Officer arrive and speak to the citizen.
After he inquired as to whether the citizen had any weapons, to which he replied in the negative, the
Officer informed the subject he was going to “check” him. The Officer was observed at 02:21 (via
timestamp) patting the front exterior belt buckle area of the citizen’s shirt. At 02:23, the officer was
satisfied the subject did not have any armaments and stepped away. After observing the two second
period where the officer physically engaged with the subject, the Sergeant reviewed Chapter 1.2.4
(Search and Seizure) whereupon the following definitions were noted:

Pat-down/frisk—An external examination of the outer garments of an individual for the purpose of
ensuring the individual does not possess any weapons.

Search—An inspection, examination, or viewing of persons, places, or items in which an individual
has a legitimate expectation of privacy.
                                                                                                           55
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It is the view of this sergeant that the Officer performed properly and conducted a pat-down upon
the subject. The definition of Pat-Down, as per departmental policy, was what was observed to have
taken place. While the definition of Search lacks clarity, a Search would involve manipulation of
pockets/reaching hands into pockets or under shirt collars/lifting of pant legs to view sock area for
secreting items. This audit flag for non-compliance appears to be categorically false and should be
removed. It should also be noted General Order 1157 which implemented Chapter 10.1 (Public Safety
Rides) was not issued until July 8th, 2022. The event in question preceded issuance of the new policy
by 2 months. Regardless, the Officer documented his actions appropriately in a Field Interview Card.

PSAB Response: ARU reviewed this incident and noted that the pat-down conducted was not in
policy regarding public safety rides, nor was it in policy regarding consent to search policy. The officer
did not provide reasoning for conducting a pat-down on a person not suspected of carrying weapons
and not suspected of a crime. The officer did a pat-down, but never justified why he felt the person
may have had a weapon. The FIC only stated the justification was for NOPD Policy and that is not a
valid reason. When asking someone for permission to search, the officer needs the subject consent
and a signed form. No change to the scoring for this incident.

4th District Review: The Sergeant reviewed the flag for non-compliance with policy for the traffic stop
conducted by SPO under this item number. The officer was utilizing a portable radar gun to measure
vehicle speeds in his area of assignment. A vehicle was observed to be speeding and was stopped
with citation issued. The following information was documented by PSAB staff:

“WHILE THE OFFICER DID GENERATE AN FIC FOR THIS TRAFFIC STOP, THE FIC LACKED DETAILS
REGARDING PROBABLE CAUSE TO STOP THE VEHICLE I.E. SPEED LIMIT AND DRIVER'S SPEED.”

It should be noted the citation issued (attached) shows the speed of the driver (54 mph) and the
speed limit of the street where the violation occurred (35 mph). The Sergeant reviewed the Field
Interview Card in question and observed the following verbiage in the reasonable suspicion section:

“THE DRIVER WAS STOPPED FOR SPEEDING....RADAR WAS USED”

The Sergeant reviewed Chapter 41.12 (Field Interview Card) and found the following paragraph
subsection pertinent to this instance: ¶12 The following information shall be required on all FICs: (h)
Reason for the stop, including a clear and specific articulation of the facts creating reasonable
suspicion or probable cause.

It is the view of this sergeant, based upon these definitions, that a probable cause statement should
include the speed limit and the offender’s speed. However, the Field Interview Card clearly states
the following is required:

“Reasonable Suspicion for Stop”

In light of the fact the Field Interview Card itself requires officers to enter the Reasonable Suspicion,
the articulable fact that the driver was stopped for speeding via radar satisfies the requirement as
                                                                                                             56
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shown on the Field Interview Card system. Since that is the minimum standard presented to officers.

27/43B – Attempted Sexual Battery, Disposition: CBA – Cleared by Arrest

The victim reported that she was sexually assaulted by a stranger while out riding her bicycle. The
Officer documented this stop properly by stating his reasonable suspicion for the stop. Therefore,
this flag for non-compliance should be moot.

PSAB Response: ARU reviewed this incident and agreed that the FIC contained sufficient reasonable
suspicion. This incident was updated from No to Compliant.

4th District Review: The Sergeant reviewed the flag for non-compliance with policy for the Domestic
Disturbance investigated by Officers. The call was initially written up by OPCD personnel as Violation
of Protective Orders. The following information was documented by PSAB staff:

“Officers were dispatched to investigate a Signal 79, relative to a call for violation of a protection
order. The signal was later changed to a 103D, relative to a domestic disturbance. The officers were
advised a black male was banging on his ex-girlfriend's door, and she had an active protection order
against him. Upon arrival, the officers observed a male subject, later identified, standing in front of
the building. Officers detained the male subject in handcuffs while the Officer went to speak to the
complainant. The Officer attempted to knock on the door multiple times but were met with negative
results. Dispatch did multiple call-backs but received no answer. The officer advised the subject of
his Miranda rights to which he understood. The subject then went on to explain that he was not at
the location to visit the complainant, but instead he was there visiting someone in a neighboring
building. Officers ran the subject’s name through CastNet which yielded no active warrants, just an
open protective order. Due to the complainant not answering the door, no evidence to refute the
subject’s claim, and no probable cause to effect an arrest, the Officer released the subject without
further incident. BWC for the Officer was activated and the interaction was recorded in its entirety.
It should be noted that there is no BWC footage for the other Officer.”

The Sergeant reviewed the police report in this matter and found it to be articulate and met all
requirements under reporting as dictated by Chapter 42.4.1. When researching the Officer’s body-
worn camera history, the Sergeant discovered he had labeled the video on August 25th.

Actions taken by District: Due to not having his video labeled prior to the audit, the Sergeant issued
a written counseling via supervisor feedback log.

PSAB Response: No further review required.

5th District Review: SSA Scorecard - BWC Complete. On 2/21/22, the Officer arrested a male subject
at 8:44 pm. BWC was activated before talking to the complainant at 1:00. After reading the results
from the score card, it is documented that the Officer deactivated his camera before the transfer
was complete at central lock-up. The Officer and the arrested were allowed into the holding area,
where an OPCSO nurse retrieved booking paperwork from the Officer. The nurse began to ask the
arrested subject questions at marker time 2:17:16. After conducting her medical interview, the nurse
                                                                                                          57
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medically cleared the subject and allowed the subject to enter the central lock up at 2:18:37. OPCSO
Deputy asked the subject to stand near the wall and requested the Officer to remove the handcuffs,
and the deputy began to search the arrested subject at 2:19:19. While the OPCSO Deputy was still
searching the subject, the Officer deactivated his camera at 2:19:36 which was before the Officer left
central lock-up or marked up the call.

The Officer manually deactivated his BWC (body-worn camera) before the complete release of the
arrested subject and before "marking up the final disposition of the item," as stated in Chapter
41.3.10, Title: Body–Worn Camera ("BWC"), paragraph 16: Cessation of Recording. Cessation of
Recording: 16. The BWC shall be utilized by any Department member assigned this device during all
investigative or enforcement contacts. Once the BWC system is activated, it shall remain on and shall
not be turned off until an investigative or enforcement contact or incident has concluded, including
marking up the final disposition of the item and any supervisor-approved signal changes. For
purposes of this section, the conclusion of an incident has occurred when an officer has terminated
contact with an individual, cleared the scene of a reported incident, and has completed the transport
of a civilian or an arrestee.

On 3/23/22, Officer arrested a female subject at 3:23 am. BWC was activated before talking to the
complainant at 0:59 with his overhead police lights. After reading the results from the score card, it
is documented that the Officer deactivated the camera too early while at lock-up. Officer and the
arrested were allowed into the holding area where an OPCSO nurse was at 2:20:09. The nurse
requested the officer and arrested subject to enter central lock-up at 2:22:21. OPCSO Deputy
retrieved arrest paperwork from the Officer at 2:22:26. While the OPCSO Deputy was processing
paperwork and the nurse still was conducting her medical interview, the Officer deactivated his
camera at 2:24:23 which was before the arrested subject was medically cleared and before the
Officer removed his handcuffs. The Officer manually deactivated his BWC (body-worn camera)
before the complete release of the arrested subject and before "marking up the final disposition of
the item," as stated in Chapter 41.3.10, Title: Body–Worn Camera ("BWC"), paragraph 16: Cessation
of Recording. Cessation of Recording: 16. The BWC shall be utilized by any Department member
assigned this device during all investigative or enforcement contacts. Once the BWC system is
activated, it shall remain on and shall not be turned off until an investigative or enforcement contact
or incident has concluded, including marking up the final disposition of the item and any supervisor-
approved signal changes. For purposes of this section, the conclusion of an incident has occurred
when an officer has terminated contact with an individual, cleared the scene of a reported incident,
and has completed the transport of a civilian or an arrestee.

Actions taken by District: Sergeant spoke with the C-Platoon Commander who conducted roll call
training on Wednesday, August 24, 2022, regarding NOPD Chapter 41.3.10: Body–Worn Camera
("BWC"). Sergeant spoke with DCAT Supervisor who conducted roll call training on Monday, August
22, 2022, regarding NOPD Chapter 41.3.10: Body–Worn Camera ("BWC").

PSAB Response: No further review required.

5th District Review: SSA Scorecard- FIC did not exist. After reading the results from the score card, it
is documented that another Officer did not complete an FIC and/or an EPR for this incident. On
                                                                                                           58
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5/26/2022 at 3:29 pm, the Officer initiates a traffic stop and manually activates her lights, siren, and
body-worn camera. The Officer advises the dispatcher over the NOPD Channel 5 radio station about
the traffic stop. The officer approaches the vehicle and introduces herself per policy. She asks the
driver about her well-being because she was swerving and almost hit several cars. The officer elected
to contact EMS for medical assistance. EMS arrived on the scene and determined the driver was not
medically healthy to drive because her sugar was too high. She had diabetes and needed to be
transported to the hospital for medical treatment. The Officer secured the driver's vehicle and
provided the driver with the keys.

The Officer ended the call by advising the dispatcher to change the signal from a traffic stop to a
medical incident. However, the officer conducted a traffic stop initially and should have completed
an FIC.

Actions taken by District: The Sergeant notified the Lieutenant who conducted a roll call on
completing FIC as it pertains to policy Chapter 41.12: Field Interview Cards, paragraph 2: The
investigating officer of the primary unit on the scene shall document the following occurrences in a
Departmental FIC whether or not a report, citation or summons is completed: (a) Stopping a vehicle
to issue a traffic citation (see Chapter 1.2.4.1 – Stops, Chapter 1.2.4.3 – Vehicle Stops and Chapter
61.3 – Traffic Citations). (b) Stopping a vehicle to issue a verbal traffic warning (see Chapter 1.2.4.1 –
Stops, Chapter 1.2.4.3 – Vehicle Stops, and Chapter 61.3 – Traffic Citations).

The auditor's notes documented that the officer did not complete an FIC and/or an EPR for this
incident. In policy Chapter 82.1: Report Preparation, paragraph 10: Required Reporting. Completed
incident reports (EPR) are required in all of the following situations as specifically covered herein or
by other Chapters: (a) Criminal activity, (b) non-criminal activity, (c) Death reports, (d) Injury or
damage caused by City personnel, or (e) Certain miscellaneous injuries. 11. The above reporting
requirements are not intended to be all-inclusive. A supervisor may direct an employee to document
any incident he/she deems necessary.

PSAB Response: No further review required.

5th District Review: SSA Scorecard - FIC was not submitted by ETOD.

Actions taken by District: The Sergeant spoke with the Lieutenant who met with his supervisors and
conducted in-house training regarding policy Chapter 41.12 Field Interview Cards, paragraph 25:
Supervisors Shall Approve All Fic Documentation. After receiving a submitted FIC, a supervisor of the
submitting officer's unit shall review the FIC to determine if each stop, frisk, or search was supported
by documentation of reasonable suspicion or probable cause; whether it is consistent with NOPD
regulations, policy, and federal and state law; and whether it showed a need for corrective action or
review of agency policy, strategy, tactics, or training. Supervisors shall make every reasonable effort
to complete this review within 12 hours of receiving the submitted FIC and, in all cases, shall
complete the review within 72 hours.

PSAB Response: No further review required.

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5th District Review: SSA Scorecard- Subjects - Officer had RS/PC for stop, and Officer adequately
documented RS/PC to stop. On 3/15/22 at 4:47 am, Officer investigated an armed carjacking. After
further investigation, the vehicle was located, and the victim was provided a courtesy ride. The
investigating officer of the primary unit on the scene shall document the following occurrences in a
Departmental FIC whether or not a report, citation, or summons is completed: i. Field Interview Card
(FIC) as required per Chapter 41.12: Field Interview Cards, paragraph 2 (I). Providing a public safety
ride (see Chapter 10.1 – Public Safety Rides). Public Safety Ride – the voluntary transport of a person
or persons from one location to another as a public service, for example, when giving a stranded
tourist a ride or when transporting someone who has been involved in an investigative stop or calls
for service which has already been concluded for their safety. Public Safety rides are not part of
detention and may be refused for any reason. There was no policy in chapter 10.1, public safety rides.
However, the policy was updated on 7/10/2022, Chapter 10.1, Public Safety Rides, which states
unless there is reasonable suspicion supporting a stop and reasonable suspicion that an individual is
armed and dangerous, officers shall not conduct a pat down of an individual before providing a public
safety ride. Stops and pat downs shall only be conducted in accordance with Chapter 1.2.4 – Search
and Seizure. The policy was updated after the FIC was completed.

PSAB Response: No further review required.

5th District Review: Arrest Scorecard- Subjects - Miranda Warnings Given if required. On 5/30/22
at 4:29 pm, Officer handled a call for service for a wanted subject. The officer was able to identify
the subject based on the description provided by the dispatcher. NCIC verified the warrant. After
reviewing the body-worn camera it was discovered that the Officer did not read the subject his rights
per policy. Chapter 1.9.1: Miranda Rights, paragraph 2: Officers shall advise suspects of their Miranda
Rights at the time of arrest or before any custodial interrogation.

Actions taken by District: Sergeant spoke with the Lieutenant who conducted roll training.

PSAB Response: No further review required.

5th District Review: SSA Scorecard- Incident (Consent to Search): FICs submitted by ETOD, Videos
and reports are consistent. Officer responded to a domestic call for service where she had to arrest
a male subject. After reading the results from the score card, it is documented that the Officer
completed an FIC and, on the FIC, the "Consent to Search" option was selected. However, a consent
to search did not occur. The Sergeant reviewed the FIC; on the FIC, it was documented that "no"
consent to search was conducted. However, another field popped up when the question "was subject
searched" was answered as yes. The "basis for the search" with titles "consent to search," "warrant,"
"inventory," "incident to arrest," and "exigent circumstances."

In error, Officer clicked the "consent to search" field and should have clicked the field "incident to
arrest."

Officer investigated a mental patient incident on 4/14/2022 at 5:14 am. Officer completed a CIT form
before ETOD.

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Due to human error, Officer forgot to complete the FIC before ETOD.

Actions taken by District: On 4/20/2022, the Sergeant notified the C-Platoon Sergeant, informing
the Officer to complete the FIC. The FIC was entered and approved on 4/20/2022. The Sergeant
advised that he conducted roll call training on policy Chapter 41.12: Field Interview Cards, paragraph
9. All FIC entries shall be completed before the officer's tour of duty.

PSAB Response: No further review required.

5th District Review: Arrest Scorecard- Subjects (Consent to Search): Miranda Warning Given, if
required. On 4/14/22 at 5:14 am, Officer investigated a mental patient incident on 4/14/2022 at 5:14
am. Officer completed a CIT form before ETOD. After reading the results from the score card, it is
documented that the Officer Miranda Warning was not required. Officer received OPC papers and
handcuffed the person with a mental health condition to the rear, double-locked. Female Officer
searched the female mental patient before transporting the female mental patient to Children's
Hospital as required by policy. In the audit, it was discovered that the male Officer did not read the
female mental patient's Miranda Rights. However, the incident was not an arrest and did not require
Miranda Warnings per policy.
Chapter 1.9.1: Miranda Rights, paragraph 2: Officers shall advise suspects of their Miranda Rights at
the time of arrest or before any custodial interrogation. Chapter 41.25, Crisis Intervention, paragraph
33 & 50. Paragraph 33. An officer can arrest an individual in crisis only when the officer has probable
cause to believe the individual has committed a crime. Having a mental illness or developmental
disability is not a crime, and no person should be arrested for behavioral manifestations that are not
criminal. Order Of Protective Custody and Court Order for Forced Entry: when the coroner has
granted an OPC and has credible information that the subject of the OPC will not comply and will
refuse or obstruct admittance to the coroner or officers assisting the coroner in attempting to take
the subject into protective custody, the coroner may apply for, and be granted a Court Order
pursuant to RS 28:53.2 (G). The signed Court Order allows for the coroner and those officers assisting
to utilize "forced entry" to execute the OPC. No search warrant is required. The requirements for this
action are: (a) A signed, valid OPC. (b) A signed Court Order, requested by the coroner, under RS
28:53 authorizing "forced entry." (c) The coroner or his/her representative MUST be on-scene, and
the police are present only to "assist" in serving the OPC.
PSAB Response: After further review, ARU has amended the entry from No to Not Applicable. The
scorecard has been updated.

5th District Review: Probation and Parole - SSA Scorecard- BWC Complete.. After reading the results
from the score card, it is documented that the Officer activated his BWC late when he arrived on the
scene. The Sergeant reviews the Officer’s BWC s starting at 3:02 pm on 5/17/22 when he starts
talking back towards his vehicle. On 5/17/22 at 2:58 pm, the Officer’s ICC front camera starts where
the officer is unholstering his firearm to assist a DIU unit for an armed suspect in the parking lot.

Actions taken by District: The Sergeant notified the Sergeant who conducted roll call training on
Chapter 41.3.10: Body-Worn Camera (BWC), paragraph 11. Required Activation of The BWC 11. This
policy is intended to achieve an appropriate balance between the benefits of BWC devices and
civilians' reasonable expectations of privacy. The BWC shall be manually only activated for legitimate
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law enforcement purposes. Manual activation of the BWC is required for the following situations: (a)
All field contacts involving actual or potential criminal conduct within video or audio range; (b) Traffic
stops (to include, but not limited to, traffic violations, stranded motorist assistance and all crime
interdiction stops); (c) Emergency responses; (d) Vehicle pursuits; (e) Suspicious vehicles; (f) Arrests
and transports; (g) Vehicle searches; (h) Consent to search; (i) Physical or verbal confrontations or
use of force; (j) Pedestrian checks/Terry Stops; (k) DWI investigations, including field sobriety tests;
(l) Domestic violence calls; (m) Statements made by individuals in the course of an investigation or
complaint; (n) Advisements of Miranda rights; (o) Seizure of evidence; (p) Swat rolls; (q) Execution of
all Search Warrants (including No-Knock) and Arrest Warrants; (r) Any other contact that becomes
adversarial after the initial contact in a situation that would not otherwise require recording; (s)
Engages in mass civil demonstrations and / or riot control; (t) Any other legitimate law enforcement
contact where the officer believes that a recording of an incident would be appropriate; and (u) All
calls for service.

After reading the results from the score card, it is documented that the Officer deactivates his BWC
at central lockup before the transfer of custody is complete. Officer and the arrested were allowed
into the holding area, where an OPCSO nurse retrieved booking paperwork from the Officer. The
nurse began to ask the arrested subject questions at marker time 2:17:16. After conducting her
medical interview, the nurse medically cleared the subject and allowed the subject to enter the
central lock up at 2:18:37. OPCSO Deputy asked the subject to stand near the wall and requested the
Officer to remove the handcuffs, and the deputy began to search the arrested subject at 2:19:19.
While the OPCSO Deputy was still searching the subject, the Officer deactivated his camera at 2:19:36
which was before the Officer left central lock-up or marked up the call. The Officer manually
deactivated his BWC (body-worn camera) before the complete release of the arrested subject and
before "marking up the final disposition of the item," as stated in Chapter 41.3.10, Title: Body–Worn
Camera ("BWC"), paragraph 16: Cessation of Recording. Cessation of Recording: 16. The BWC shall
be utilized by any Department member assigned this device during all investigative or enforcement
contacts. Once the BWC system is activated, it shall remain on and shall not be turned off until an
investigative or enforcement contact or incident has concluded, including marking up the final
disposition of the item and any supervisor-approved signal changes. For purposes of this section, the
conclusion of an incident has occurred when an officer has terminated contact with an individual,
cleared the scene of a reported incident, and has completed the transport of a civilian or an arrestee.

Actions taken by District: The Sergeant spoke with the C-Platoon Commander Lt. who conducted roll
call training on Wednesday, August 24, 2022, regarding NOPD Chapter 41.3.10: Body–Worn Camera
("BWC").

PSAB Response: No further review required.

5th District Review: SSA Scorecard- Procedural Justice (Probation & Parole) Officers introduced
themselves. After reading the results from the scorecard, it is documented that the Officer did not
introduce himself. On 1/14/22 at 2:39 am, the Officer responded to a call for service and arrested
the male subject for an outstanding warrant. The male subject was detained before being arrested
because he was agitated and appeared to be attempting to leave the location by opening the door
of a blue Honda civic parked in the 1500 block of Gallier Street.
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On the other Officer’s camera footage labeled under the initial dispatched call at marker 2:03, Officer
identified himself and the other Officer. After reviewing the Officer's BWC at the marker, Sergeant
reviewed all the officer's body-worn camera footage.

PSAB Response: After reviewing BWC, ARU has updated the audit from No to Compliant. It was
heard on BWC at 1:30 the officer identified himself.




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 Appendix A – SSAPJ Audit Forms
SSAPJ Audit Forms:




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Appendix B – Report Distribution
Superintendent

Chief Deputy Superintendent Field Operations Bureau

Deputy Superintendent Professional Standards and Accountability Bureau

Deputy Superintendent Public Integrity Bureau

Deputy Superintendent Management Services Bureau City Attorney Sunni

City Attorney’s Office

Assistant City Attorney




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